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                 10                         UNITED STATES DISTRICT COURT
                 11                       CENTRAL DISTRICT OF CALIFORNIA
                 12
                 13     TERESA DYKZEUL,                        Case No. 2:18-cv-05826 DSF (GJSx)
                                                               Assigned to Hon. Dale S. Fischer
                 14                      Plaintiff,
                 15                vs.                         DEFENDANT CHARTER
                 16     CHARTER COMMUNICATIONS                 COMMUNICATIONS, INC.’S
                        INC.,                                  POST-TRIAL CLOSING
                 17                                            ARGUMENT BRIEF
                                         Defendant.
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                    1   I.    INTRODUCTION
                    2         In October 2016, Plaintiff Teresa Dykzeul (“Dykzeul”) applied for a position
                    3   as a Direct Sales Representative (“DSR”) with defendant Charter Communications,
                    4   Inc. (“Charter”) in the region around Turlock, California. Although the person who
                    5   interviewed her, Charter Direct Sales Supervisor Jim Swift, was otherwise
                    6   impressed with Dykzeul and wanted to hire her, he ultimately did not do so because
                    7   Dykzeul was unable to work Saturdays, which was a requirement for the position.
                    8         Dykzeul contends now that Swift’s decision was based on intentional
                    9   discrimination against her religion and that his conclusion that the accommodation
                 10     that Dykzeul proposed – to allow her to work Sundays instead – would impose an
                 11     undue hardship on him and Charter constituted an unlawful failure to
                 12     accommodate. But the evidence at trial showed Dykzeul’s claims lack merit. In
                 13     particular, Dykzeul not only failed to introduce a shred of evidence that Swift or
                 14     Charter were motivated by animus or ill will towards Dykzeul’s religion, she
                 15     actually stipulated before trial that the “only reason that Swift did not hire Dykzeul
                 16     was because she could not work Saturdays.” Swift’s decision was based solely on
                 17     her unavailability on Saturdays, as Dykzeul stipulated, and not because he harbored
                 18     prejudice against her religion.
                 19           As for Dykzeul’s claim for failure to accommodate, the preponderance of
                 20     evidence establishes that in October 2015, DSRs who worked in the territories
                 21     overseen by Swift (Turlock, Gilroy and San Luis Obispo) were required work on
                 22     Saturdays. That did not mean they could not occasionally be excused from a
                 23     Saturday or would be subjected to discipline if they missed a Saturday; but rather
                 24     they had to be available to work Saturdays to be eligible for the job and that, unless
                 25     they had hit their sales targets the prior month and were on target to hit their sales
                 26     targets the current month, they could not be excused from working on a Saturday.
                 27     Dykzeul, however, was not available to work on any Saturdays, and this posed a
                 28     problem for Swift.
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                    1         Swift liked Dykzeul and wanted to hire her, so he spent the weekend after her
                    2   Friday interview trying to think of a way to work around Dykzeul’s Saturday
                    3   unavailability. During the interview, Dykzeul suggested she work Sundays instead,
                    4   and, indeed, Swift did occasionally permit a DSR to work on a Sunday. However,
                    5   in Swift’s and those DSR’s experiences, including the experience of former DSRs
                    6   Daniel Blond and Krystyna Amaral (both trial witnesses), Sundays were simply not
                    7   good sales days and not an adequate substitute for Saturday work. Moreover, if a
                    8   DSR worked on a Sunday, Swift had to be on call during the time the DSR worked
                    9   to answer questions and respond to emergencies. Swift already worked six days a
                 10     week, and he determined it would be an undue hardship on him if he had to work
                 11     every day of every week, all year long. Thus, Swift decided he could not
                 12     accommodate Dykzeul by allowing her to swap Saturdays with Sundays and .
                 13     proposal and did not hire Dykzeul.
                 14           At trial, Dykzeul proposed other potential accommodations that she claims
                 15     could have been considered, such as allowing her to start early on weekday
                 16     mornings or work part-time, or by hiring another employee part-time to cover her
                 17     Saturdays or by assigning a portion of her territory each Saturday to other DSRs.
                 18     The evidence at trial established that none of these accommodations were feasible,
                 19     either. Early weekday mornings when people are asleep or off to work or school
                 20     were no substitute for Saturdays (the best sales day of the week, per Swift); Charter
                 21     did not employ part-time DSRs or have a commission plan or territorial assignment
                 22     and rotation system in place to accommodate part-time DSRs; and Charter did not
                 23     want DSRs selling in each other’s territories for good reasons, as detailed herein.
                 24           Based on these claims, Dykzeul asks the Court to award her damages,
                 25     including $425,530.72 (assuming she made $100,000 per year, plus benefits) or
                 26     $258,062.29 (assuming she made $75,000 per year, plus benefits) for four years of
                 27     allegedly lost earnings, $500,000 in emotional distress damages, and punitive
                 28     damages. Dykzeul’s damages calculations have no basis in reality, and are based
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                    1   entirely on language about a DSR’s earnings “potential” “[i]f sales targets are met”
                    2   and Dykzeul’s belief, without foundation, that selling Charter’s products was easy
                    3   and that she would have been a superstar performer there until she retired. The
                    4   truth is, of the 29 DSRs who worked in the Turlock territory between October 2015
                    5   and October 2018, only one made an average of $75,000 or higher per year. Only
                    6   one DSR reporting to Swift regularly made her or his targets. And of those 29
                    7   DSRs, 73.3% lasted less than nine months on the job.
                    8         The DSR position was not an easy job. It was a door-to-door sales job that
                    9   required each DSR to cover a territory of 400 to 500 assigned addresses each
                 10     month. To make as many contacts as possible, which would hopefully lead to
                 11     conversations and ultimately sales, DSRs were required to knock on at least 50
                 12     doors per day and be available to work weekdays (particularly the “hot time” of
                 13     3:00 or 4:00 in the afternoon until 8:00 or 9:00 in the evening) and Saturdays. The
                 14     job required the DSR to understand Charter’s products, their pricing, and
                 15     competitor offerings. It also involved a lot of walking, a lot of perseverance, and a
                 16     lot of rejection. Most people did not stay in the job long.
                 17           Dykzeul’s beliefs about how long she would have worked as a Charter DSR
                 18     and how successful she would have been are also discredited by her actual
                 19     performance at one of her subsequent employers, Patient Care America (“Patient
                 20     Care”), and her attempts to conceal this fact from Charter and the Court in this
                 21     proceeding. Patient Care terminated Dykzeul’s employment for poor performance
                 22     and lack of sales; Trial Exhibits 27 and 55 document Dykzeul’s deficiencies,
                 23     confirmed by the testimony of Indira Seoane, Patient Care’s human resources
                 24     director at the time. Yet, this was almost not known in this case. Contrary to
                 25     Dykzeul’s actual performance at Patient Care, Dykzeul testified in this case that
                 26     things went “well” at Patient Care and that she had received a “great 90-day
                 27     evaluation in February 2018.” Dkt. 142 at 7:26-28. She claimed she did not know
                 28     why she had been let go from Patient Care, and attempted to blame it on retaliation
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                    1   for taking medical leave. Id. at 8:6-9. Worse, she also redacted the records
                    2   produced by Patient Care in response to a subpoena to hide the real reason she was
                    3   terminated at Patient Care. At trial, the unredacted records were produced and
                    4   admitted into evidence, Seoane testified, and it was established that Dykzeul was an
                    5   extreme underperformer at Patient Care who struggled to make sales, was
                    6   disorganized, and ultimately was terminated for poor performance.
                    7         When a witness deliberately testifies untruthfully, that witness’s credibility is
                    8   cast into such doubt that, in a jury trial, jurors are even instructed they can choose
                    9   not to believe a word the witness has said. MCJI 1.14. Here, Dykzeul has tried to
                 10     inflate her damages and create the false impression that she was a superstar
                 11     performer everywhere she worked. In fact, she was a serial job-hopper who worked
                 12     at eight different employers between October 2018 and 2019 and who was
                 13     terminated from at least one of them for poor performance. Dykzeul’s willingness
                 14     to flout the truth when presenting her claims and assertions in this case should color
                 15     everything she has claimed in this case, not just about damages, and especially
                 16     when her testimony regarding other matters conflicts with that of other witnesses.
                 17           At the end of the day, Dykzeul’s claims should each be rejected. She has not
                 18     proven her claims and, in the case of her failure to accommodate claim, Charter has
                 19     established that Dykzeul’s proposed accommodations would have imposed an
                 20     undue hardship (i.e., more than a de minimis burden) on Charter and its employees.
                 21     Dykzeul’s damages claims should also be rejected as grossly inflated, and of course
                 22     no punitive damages should be awarded because there was no evidence at trial that
                 23     would warrant their imposition. Accordingly, this Court should enter judgment in
                 24     favor of Charter on all of Dykzeul’s claims.
                 25     II.   THE TRIAL
                 26           A three-day bench trial was conducted in this matter from July 20-22, 2021.
                 27     The Court heard live testimony from Dykzeul, former Charter Direct Sales
                 28     Supervisor Jim Swift, former DSRs Krystyna Amaral and Daniel Blond, Dykzeul’s
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                    1   damages expert Wesley Nutten, and Charter’s damages expert Amy Aukstikalnis.
                    2   The parties also submitted into evidence the deposition testimony of former Charter
                    3   in-house recruiter Tamara Prunty, former DSR Neila Deneen, and direct testimony
                    4   declarations from Dykzeul, Nutten and Aukstikalnis. The Court also admitted trial
                    5   exhibits from the parties’ joint exhibit list into evidence.
                    6   III.   STATEMENT OF FACTS
                    7          A.    Dykzeul Applied At Charter To Work As A DSR, A Challenging
                                     Job That Experienced Frequent Turnover
                    8
                    9          This case concerns Dykzeul’s application for a DSR position at defendant
                 10     Charter in October 2015. Stipulated Fact No. 1 from the Parties’ Joint Stipulation
                 11     of Facts Deemed Admitted for Trial, Dkt. 137 (“SF No. _”). One of Dykzeul’s key
                 12     contentions in this case has been that her success at Charter was virtually
                 13     guaranteed, including that sales were easy to achieve and that she would have
                 14     worked there until she retired. Dkt. 142 at 9:25-10:2. In fact, although some
                 15     people have been successful as DSRs, most people have found it challenging, and
                 16     turnover in the position is high.
                 17            DSRs are exempt sales employees that go door-to-door selling cable,
                 18     internet, and telephone services. SF No. 2. At the time of Dykzeul’s application in
                 19     October 2015, DSRs reporting to Swift were given approximately 400 leads per
                 20     month. 7/21/21 Trial Tr. at 211:17-25. Charter had a systematic way it wanted to
                 21     work the territory, to ensure that DSRs did not just go “wherever they wanted.” Id.
                 22     Overall, each territory had a six-month rotation, where Charter tried to cover the
                 23     entire territory during the six-month period before starting the rotation over. Id. at
                 24     212:4-16. The purpose of the strategy was to ensure that DSRs did not simply go
                 25     back to the same addresses and contact the same people over and over. Id. at
                 26     213:1-13. Overworking the same territory too frequently irritated potential
                 27     customers and was not productive. Id.
                 28     ///
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                    1         The DSR job is physically hard and involves walking “a lot of mileage,”
                    2   according to former Charter DSR Daniel Blond, who testified at trial. 7/20/21 Trial
                    3   Tr. at 78:2-12. Blond testified that he would have to get new shoes every so often
                    4   due to all the walking, and that he “lost a lot of weight” from the “workout” he got
                    5   each day. Id. Another former DSR, Krystyna Amaral, testified that the “most
                    6   difficult part of the job was the people I would deal with.” Id. at 100:3-6. “If they
                    7   slammed the door on my face or didn’t want to talk to me, it was, a personal thing
                    8   for me.” Id.
                    9         Swift found that it was not easy to make sales as a DSR. 7/21/21 Trial Tr. at
                 10     239:3-4. While working at Charter, Swift once analyzed the percentage of Charter
                 11     DSRs nationwide who were hitting their targets and determined that roughly only
                 12     8-10% of all DSRs successfully hit their targets. Id. at 219:20-220:12. This was
                 13     consistent with what Swift observed for the DSRs who reported to him. Id. At the
                 14     time, in addition to Turlock, Swift supervised the Gilroy and San Luis Obispo
                 15     territories. Stipulated Fact No. 6.
                 16           Swift also refuted Dykzeul’s contention that “selling Internet, cable and
                 17     phone service did not require much explanation about the product and only about
                 18     the different options and pricing.” 7/21/21 Trial Tr. at 238:22-239:2. For example,
                 19     on a typical day, Swift would receive up to 5 to 10 calls from DSRs in the field
                 20     needing assistance, whether it was an upset customer, an installer that was missed, a
                 21     pricing issue, a question about the product, or a question about competitors. Id. at
                 22     205:22-206:10. DSRs also faced unique hurdles in the Turlock territory.
                 23     Specifically, the Turlock territory had a worse reputation than the other areas Swift
                 24     supervised, because Charter had a bad reputation there for reliability of service.
                 25     7/20/21 Trial Tr. at 189:4-12.
                 26           Swift did not have any DSRs that worked for him until retirement. 7/21/21
                 27     Trial Tr. at 238:1-13. To the contrary, most DSRs ultimately left the job due to a
                 28     lack of production and the frequent rejection they faced when trying to make sales.
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                    1   Id. at 238:14-21. As Swift explained:
                    2                  Ultimately, they’re not making enough money to stay. But
                                       couple that with the rejection that we receive every day
                    3                  which is probably about 98 percent of the people we speak
                                       with, it’s a difficult job. It’s tough to take that every day of
                    4                  your life and deal with it.
                    5   Id.
                    6         Aukstikalnis testified that 73.3% of the Charter DSRs who worked in
                    7   Turlock between October 2015 and October 2018 worked as a DSR for less than
                    8   nine months. 7/21/21 Trial Tr. at 364:11-15; 370:14-25; Dkt. 143, Aukstikalnis
                    9   Trial Decl. at 4:4-5.
                 10           B.       Dykzeul Applied For The DSR Job At Charter Knowing It
                                       Required Friday Evening And Weekend Work, Representing That
                 11                    She Was Available Those Times
                 12           Before Dykzeul interviewed for a DSR position with Charter, she filled out
                 13     an application. Trial Exhibit (“TE”) 1. The job application and DSR job
                 14     description both explicitly stated that the ability to work weekends and evenings
                 15     was a requirement. TE 1, p. 11; TE 29, p. 2. Specifically, “Must be available
                 16     weekends and evenings” was listed as a “Qualification” for the position in the job
                 17     description:
                 18
                 19
                 20
                 21
                 22
                 23
                 24     TE 29, p. 2.
                 25           Dykzeul submitted her application for a DSR position in Turlock, California
                 26     on October 5, 2015. Dkt. 142, 3:17. As Dykzeul has stipulated, “[t]he application
                 27     asked if Dykzeul was able to work evenings and weekends, to which Dykzeul
                 28     answered that she could.” SF No. 3. This is confirmed in Dykzeul’s job
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                    1   application:
                    2
                    3
                    4
                    5   TE 1, p. 11.
                    6         After Dykzeul applied for the DSR position, Tamara Prunty, a Charter
                    7   recruiter, pre-screened Dykzeul by telephone. SF No. 4. Prunty’s testimony was
                    8   presented at trial by way of deposition designations. Dkts. 148 and 149. Prunty’s
                    9   job was to review applications and resumes candidates submitted through Charter’s
                 10     applicant tracking system or on job boards. Dkt. 148, Prunty Depo. at 18:10-19:4.
                 11     It was Prunty’s responsibility to determine which candidates to schedule for an
                 12     interview based on their answers to questions in the application and their
                 13     experience and work history; she looked to ensure that they met the minimum
                 14     requirements of the position. Id. at 19:12-23, 20:16-21:6.
                 15           During her prescreening calls, Prunty would review with each candidate the
                 16     hours that DSRs were required to be available. Dkt. 148, Prunty Depo. at 24:2-25,
                 17     25:15-26:17, 26:24-27:11. Prunty stated what the job requirements were, and then
                 18     asked candidates if they were able to fulfill all of the requirements. Id. at 32:21-
                 19     33:14. Regarding work hours, Prunty told candidates during the prescreen calls that
                 20     DSRs “work evenings and Saturday.” Id. at 33:15-35:1. Although Prunty did not
                 21     specifically recall her prescreening call with Dykzeul, she testified that she
                 22     conducted every prescreen “exactly the same” and that the calls always covered
                 23     “the same questions.” Id. at 35:5-18, 36:22-37:5. Prunty only moved a candidate
                 24     to the next step of the application process, an interview with the sales supervisor, if
                 25     she was satisfied that the applicant met the required qualifications and was able to
                 26     meet the job’s requirements, including the ability to work weekday evenings and
                 27     Saturdays. Id. at 19:12-21:6, 24:2-26:27:11, 33:15-35:1.
                 28     ///
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                    1         C.     The Only Reason Swift Did Not Hire Dykzeul Was Because She
                                     Could Not Work On Saturdays
                    2
                    3         On October 15, 2015, Swift interviewed Dykzeul for the DSR position. SF
                    4   No. 5. Swift told Dykzeul during the interview that the availability to work
                    5   Saturdays was a requirement for the DSR position. SF No. 7. The parties agree
                    6   and have stipulated that, during the interview, Dykzeul told Swift she could not
                    7   work Friday nights and Saturday afternoons due to her observance of the Sabbath.
                    8   SF No. 10.
                    9         The parties disagree about whether Dykzeul said she could work Saturday
                 10     nights after sundown. Dykzeul claims now that she offered to work Saturday nights
                 11     during her interview with Swift. Dkt. 142, p. 5. But, in Dykzeul’s personal notes
                 12     from her interview with Swift and her December 27, 2017 EEOC discrimination
                 13     charge submitted under penalty of perjury, she wrote that she had told Swift about
                 14     her “inability to work Saturdays,” without any reference to an offer to work
                 15     Saturday nights instead. 7/21/21 Trial Tr. at 307:3-310:24; TE 18, pp. 4-5. Swift
                 16     also denied in his testimony that Dykzeul offered to work Saturday nights. 7/21/21
                 17     Trial Tr. at 224:1-2. Swift testified that Dykzeul told him she would have to stop
                 18     work on Friday evenings to be somewhere by 7:00 pm, and that she could not work
                 19     on Saturdays. Id. at 223:18-25.
                 20           Swift understood from Dykzeul that her unavailability to work Fridays after
                 21     7:00 and Saturdays was due to a religious issue, but he did not know or ask
                 22     anything further about her religion. 7/21/21 Trial Tr. at 233:3-234:2; see also SF
                 23     No. 11. He did not know or ask what her faith was, what church she belonged to,
                 24     or whether she was in a synagogue. Id. Indeed, he had no ill will or prejudice at all
                 25     against Dykzeul because of her religious background. Id.
                 26           Dykzeul has stipulated that Swift thought Dykzeul had potential as a DSR
                 27     and wanted to hire her. SF No. 13. Swift had no problem with Dykzeul having to
                 28     stop work early on Fridays, because he understood she would only miss about an
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                    1   hour and a half of that time. 7/21/21 Trial Tr. at 224:5-14. However, if Dykzeul
                    2   had told Swift that she could not work past sundown on Fridays (which is what she
                    3   now claims to have told him), that would have posed a larger problem because,
                    4   during the winter, that would take out most of the prime Friday evening sales hours.
                    5   Id. at 224:14-225:6. Regardless, Swift’s concern at the time was with Dykzeul’s
                    6   inability to work Saturdays. Id.
                    7         Swift’s concern about Saturdays was that, in his experience, Saturdays were
                    8   the most productive day of the week. 7/21/21 Trial Tr. at 225:9-15. In Swift’s
                    9   experience working as a DSR before Charter and then as a DSR Supervisor at
                 10     Charter, the most successful times for selling cable, Internet and phone service were
                 11     4:00 to 9:00 pm on weekdays and on Saturdays, because that was when more
                 12     decision-makers were at home from work. Id. at 201:12-23. Within the 400
                 13     addresses assigned each month to each DSR, Swift found there was a mix of people
                 14     who would be home during the weekdays, the weekday evenings and weekends.
                 15     Id. at 212:14-214:19. Working on Saturdays allowed DSRs to make contact with
                 16     customers that might not be available on the weekdays and to reach customers
                 17     when all the decision-makers were home. Id. at 215:2-18. Thus, Swift was
                 18     concerned that if Dykzeul could not ever work on Saturdays, there would be some
                 19     customers that would simply never be reached and thus sales that could never be
                 20     achieved. Id. at 225:9-15.
                 21           Other witnesses also testified about the importance of Saturdays. Amaral
                 22     found Saturdays provided her an opportunity to “get in front of those doors that
                 23     weren’t home during the week.” 7/20/21 Trial Tr. at 102:20-103:3. Blond testified
                 24     that, unless he worked Saturdays, he was unable to hit about 75 of his assigned
                 25     leads each month. Id. at 80:17-81:2. In Blond’s experience, on Saturdays, there
                 26     were “definitely a lot more contacts of people at home.” Id. at 59:10-16. Blond
                 27     also testified that he was able to make sales “[j]ust about every Saturday” he
                 28     worked. Id. at 68:7-8.
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                    1            Swift contemplated what to do over the weekend after the interview. 7/21/21
                    2   Trial Tr. at 225:16-227:12. Swift testified that he thought about alternatives,
                    3   including letting Dykzeul try to make up the time on weekday mornings or
                    4   Sundays. Id. With respect to weekday mornings, Swift dismissed the idea “quickly
                    5   … because morning hours on the weekdays just are not that productive.” Id.
                    6   Swift’s conclusion that weekday mornings were not an adequate substitute was
                    7   backed up by Blond, who testified that working early on the weekdays was
                    8   unproductive. 7/20/21 Trial Tr. at 72:3-15. As Blond put it, “you’re basically
                    9   walking around half-empty neighborhoods” because “the majority of everybody is,
                 10     you know, working during the day.” Id.
                 11              Swift also considered allowing Dykzeul to work Sundays instead, which is
                 12     what he understood she had proposed in the interview. 7/21/21 Trial Tr. at 225:16-
                 13     227:12. As he explained:
                 14                    And I felt, you know, I’ve got to hire someone to set them
                                       up to be successful. It’s got to be good for them. It’s got to
                 15                    be good for the company. Otherwise, they’re just going to
                                       transition out. So then I really gave it a long hard thought
                 16                    about, okay, she volunteered to work on Sundays. Can I
                                       make that work? And I gave it a lot of consideration.
                 17
                 18     Id.
                 19              Swift’s primary problem with allowing Dykzeul to work on Sundays was that
                 20     it meant he would have to be on call on Sundays as well. Id. And as he explained,
                 21     he was already working six days per week and he did not want to have to work all
                 22     seven days (every week) as would be required for Dykzeul to work Sundays. Id.
                 23     Swift was willing to work Sundays occasionally to try to let a DSR catch up on his
                 24     or her quota, but he did not want to have to work every Sunday. Id. at 235:15-
                 25     236:8.
                 26              Swift also knew that Sunday hours were unproductive, based on his own
                 27     sales experience. 7/21/21 Trial Tr. at 225:16-227:12; see also Id. at 211:5-6. It was
                 28     extremely rare for a DSR who reported to Swift to work Sundays. Id. at 211:7-8.
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                    1   Thus, Swift concluded that allowing Dykzeul to work Sundays instead of Saturdays
                    2   would not work:
                    3                I just felt, you know, this job is tough enough. You’ve
                                     worked 30 years working six days a week. I don't know that
                    4                I can do seven days a week for any length of time. So either
                                     she’ll transition out or I will. And that really was kind of
                    5                the bottom line is if she works Sundays, I've got to be on
                                     call.
                    6
                                     What happened. She’s in Turlock. At the time I was living
                    7                in either Gilroy or Hollister; and if something happened to
                                     her and things happen in the field, but you're going to have
                    8                to go there.
                    9                You can’t wait to the very last second on Monday to
                                     investigate an accident, a customer that gets upset at you at
                 10                  the door and does something that they shouldn't which
                                     happens.
                 11
                                     But I did think about it quite a bit over the weekend. I
                 12                  remember that that’s why I remember this whole – that’s
                                     why I remember her.
                 13
                                     And I just -- I came to the conclusion that I just didn’t think
                 14                  it would work plus it did, you know, I thought back to my
                                     Sundays that I used to work. When I first got in the
                 15                  business, I worked a lot of Sundays. I just didn’t produce
                                     much on Sundays. People go to church. People don’t want
                 16                  to be bothered by door-to-door salespeople for the most
                                     part but especially on Sundays. So I found -- I eventually
                 17                  just said -- I stopped working Sundays, period, because of
                                     it. It just didn’t produce enough income to be away from
                 18                  my family every Sunday. So that’s it.
                 19     Id.
                 20           Other DSRs also testified that Sundays were unproductive sales days for
                 21     DSRs at Charter. Blond testified that he tried working Sundays, and although he
                 22     had more customer contacts, he never made a single sale on a Sunday. 7/20/21
                 23     Trial Tr. at 67:20-68:6. Amaral tried working three or four times on Sundays, but
                 24     found that “there was a lot of people out for church and things like that.” Id. at
                 25     103:17-21.
                 26           In the end, Swift made his decision not to hire Dykzeul by Sunday evening or
                 27     Monday morning. 7/21/21 Tr. at 234:3-4. He attempted to call her to tell her of his
                 28     decision, but did not reach her. 7/21/21 Tr. at 234:5-14. Swift had concluded that
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                    1   Dykzeul could not work Sundays instead of Saturdays because it would require him
                    2   to work seven days a week. Stipulated Fact No. 14. Charter did not hire Dykzeul
                    3   for the DSR position, and Swift was the only one who made the decision not to hire
                    4   Dykzeul. Stipulated Fact Nos. 15 & 16. The only reason Swift did not hire
                    5   Dykzeul was because she could not work on Saturdays. Stipulated Fact No. 17.
                    6         D.       DSRs Who Reported To Swift As Of October 2015 Were Required
                                       To Work On Saturdays
                    7
                    8         Dykzeul contends in this proceeding that DSRs were not required work on
                    9   Saturdays when she applied for the DSR position in October 2015, and that
                 10     Charter’s claim that DSRs were required to work Saturdays is an elaborate lie.
                 11     Dykzeul relies on the fact that DSRs did not record vacation or sick days and were
                 12     not subject to discipline if they missed a Saturday, and testimony from former
                 13     DSRs, who worked during a different time period and under different policies, that
                 14     some DSRs were occasionally permitted to miss work on a Saturday, to support her
                 15     contention that DSRs did not need to work on Saturdays. But the fact that some
                 16     DSRs were occasionally allowed to miss a Saturday, or that employees were not
                 17     formally disciplined for missing a Saturday, does not mean that DSRs were not
                 18     required to work Saturdays.
                 19           As Swift explained in his testimony, in October 2015, working Saturdays
                 20     was a requirement for all DSRs who reported to Swift. 7/20/21 Trial Tr. at 150:15-
                 21     22; 7/21/21 Trial Tr. at 215:20-23. DSRs were required to be available to work on
                 22     Saturdays because, in Swift’s experience, Saturday was the best production day of
                 23     the week. Id. at 215:24-216:2. Swift learned of the Saturday work requirement
                 24     from Bob Reese, Swift’s sales manager when Swift started at Charter in 2012. Id.
                 25     at 218:7-24.
                 26           Dykzeul was advised of the policy during her job application process. As
                 27     noted previously, both the DSR job application and job description explicitly stated
                 28     that the ability to work weekends and evenings was a requirement. TE 1, p. 11; TE
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                    1   29, p. 2. And, as Dykzeul has stipulated, DSRs were not required or expected to
                    2   work on Sundays, and Sundays were not considered regular workdays or part of the
                    3   regular work schedule for DSRs (SF No. 9), leaving Saturday as the only other
                    4   weekend day.
                    5         Saturday hours started at 9:00 or 9:30 am in October 2015, and the end-of-
                    6   day call was at either 2:00 or 3:00 pm. 7/21/21 Trial Tr. at 200:17-24. That did not
                    7   mean a DSR could not sometimes take a Saturday off. In October 2015, Swift also
                    8   had a system in place where a DSRs could be excused from working a Saturday if
                    9   they had met their previous month’s sales target and were on pace to meet the
                 10     current month’s target. Id. at 216:3-13. Thus, if a DSR wanted to take a Saturday
                 11     off, the DSR did not have to take a vacation day, but Swift would look to see how
                 12     the DSR was doing towards hitting her or his quota before deciding whether to let
                 13     the DSR have that Saturday off. 7/20/21 Tr. at 160:21-161:12.
                 14           The work requirements later changed, so that anyone who had met the prior
                 15     month’s target and was on target for the current month could stop work early on a
                 16     given day once they achieved two sales. 7/21/21 Tr. at 218:25-219:12. This
                 17     applied to Saturdays as well as weekdays. Id. Then, around May 2019, the policy
                 18     changed again to allow DSRs to take up to two Saturdays off per month. Id. at
                 19     243:3-244:1. But very few DSRs, if any, took off any given Saturday. Id. at 217:4-
                 20     10.
                 21           This was corroborated by other witnesses. Both Blond and Amaral testified
                 22     that they were told in their job interviews that Saturday work was required. 7/20/21
                 23     Trial Tr. at 45:10-16; 91:23-92:7. Blond worked at Charter from February 2018 to
                 24     September 2018 (i.e., for about 9 months, three years after Dykzeul’s interview).
                 25     Id. at 70:14-71:3. Blond admitted he had no idea what the weekly scheduling
                 26     requirements were at Charter for DSRs before the time he worked there. Id. at
                 27     71:4-8. While Blond worked at Charter, it was stressed to him that DSRs worked
                 28     six days a week. Id. at 75:4-12. Blond agreed that not working on a Saturday was
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                    1   “discouraged, greatly discouraged.” Id. at 64:13-23.
                    2         Amaral started working for Charter around November 21 or 22, 2017, i.e.,
                    3   two years after Dykzeul interviewed at Charter. 7/20/21 Trial Tr. at 89:19-21.
                    4   Amaral also had no knowledge about whether Saturdays were required for DSRs in
                    5   October 2015. Id. at 114:13-15. Amaral testified that Saturday hours ran from
                    6   “8:00 to 11:00 or 9:00 to 2:00 roughly” while she worked as a DSR, and the
                    7   Saturday hours would change sometimes. Id. at 106:15-18. Amaral claimed she
                    8   learned eventually that working Saturdays was not strictly “required,” but that it
                    9   was “encouraged” and that failure to do so was “frowned upon.” Id. at 101:24-
                 10     102:19. Amaral did miss a few Saturdays, but only a “handful”; the majority of the
                 11     time, she did work Saturdays. Id. at 102:20-103:3.
                 12           Denneen admitted that she had difficulty recalling matters from her time as a
                 13     DSR between 2013 to 2016, because she had “a major surgery” and “a lot going
                 14     on” during that time and “so a lot of things are kind of a blur” to her. Dkt. 153,
                 15     Denneen Depo. at 106:3-13. And she admitted that “there could have been changes
                 16     in company policy and [she] wouldn’t have remembered it.” Id. Although
                 17     Denneen claimed that when she was hired as a DSR in 2013 (i.e., two years before
                 18     Dykzeul’s interview) she had been told that Saturdays were optional, she did not
                 19     interview with Swift but rather with a different supervisor. Id. at 10:2-11:13, 16:6-
                 20     15. Denneen admitted that when Swift became her supervisor, he would “push
                 21     [them] and be like, you know, you got to work Saturdays.” Id. at 11:3-13.
                 22           E.     Other Accommodations Proposed By Dykzeul In This Proceeding
                                     Also Would Have Imposed An Undue Hardship
                 23
                 24           Dykzeul has proposed other, theoretical accommodations in this proceeding
                 25     that she contends could have been implemented to allow her to work as a DSR at
                 26     Charter. For example, she has suggested Charter could have (1) hired another
                 27     employee to cover her Saturday shifts, (2) allowed other DSRs to sell in her
                 28     territory on Saturdays, or (3) allowed Dykzeul to have worked a reduced schedule.
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                    1         Although Swift never considered it at the time, he explained that hiring a
                    2   part-time employee to cover Dykzeul’s Saturday shifts would not have been a
                    3   feasible solution because of the expense of hiring, training and ramping up another
                    4   employee, the need to revamp the entire commissions structure, and the difficulties
                    5   associated with having a part-time employee who would not have the benefit of
                    6   participating in the weekday group DSR calls, during which significant on-the-job
                    7   training takes place. 7/21/21 Trial Tr. at 227:16-229:14. More importantly, Charter
                    8   did not have any part-time DSR positions and did not hire people part-time for the
                    9   job. 7/21/21 Tr. at 231:16-232:20. In effect, Charter would have to create an
                 10     entirely new position (part-time, one-day-a-week DSR), find and hire someone who
                 11     would be good at the position, and figure out how to manage and incentivize the
                 12     position. In other words, more than a de minimis burden.
                 13           Swift also did not consider having another DSR cover Dykzeul’s territory for
                 14     her on Saturdays because the other DSRs already had their own territories to cover
                 15     and doing so would undermine Charter’s entire territory assignment and rotation
                 16     system. 7/21/21 Tr. at 229:15-230:4. Such a reassignment would also decrease
                 17     Dykzeul’s compensation by reducing the number of commissions she could earn,
                 18     given that another DSR would also be selling to her assigned territory. Id. Such a
                 19     change would also encourage DSRs to sell in other DSRs’ territories, pitting DSRs
                 20     against each other and undermining the entire system that Charter employed. Id. at
                 21     230:5-231:12. Finally, the evidence at trial showed that, under the current
                 22     schedule, DSRs were just able to cover their monthly territory. See, e.g., 7/20/21
                 23     Trial Tr. at at 80:17-81:2 (Blond needed to work Saturdays just to cover his existing
                 24     territory). Adding more addresses to someone’s territory for one day each week
                 25     would not be feasible and would impose more than a de minimis burden on those
                 26     other employees and on Charter.
                 27     ///
                 28     ///
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                    1         F.    Dykzeul’s Subsequent Employment History Shows That She Was
                                    Unlikely To Work At Charter Long, Even If She Had Been Hired
                    2               As A DSR
                    3         After Dykzeul interviewed for the Charter DSR position on October 15,
                    4   2015, she obtained subsequent employment as follows:
                    5       In the same month, October 2015, she accepted a part-time job with AppStar
                    6         Financial “selling leases for payment processing machines to businesses.”
                    7         Dkt. 142, ¶ 19.
                    8       In March 2016, she quit AppStar and started working for Heartland Payment
                    9         Systems full time as an outside salesperson, also selling payment processing
                 10           machines to businesses. Dkt. 142, ¶ 21.
                 11         In August 2016, she quit Heartland, a full-time position, to take a part-time
                 12           position with Life Alert as an inside salesperson selling emergency life-
                 13           saving response buttons to seniors. Dkt. 142, ¶ 22. In the approximate 13
                 14           months that Dykzeul worked for Life Alert, she made approximately $70,000
                 15           in commissions on part-time hours (about $64,000 a year). Id.
                 16         In October 2017, she quit Life Alert and accepted a full-time sales position
                 17           with Patient Care America selling dialysis products to patients. Dkt. 142, ¶
                 18           23. Patient Care paid her a $70,000 annual base salary plus commission and
                 19           benefits. Id.
                 20         In April 2018, Patient Care America terminated her employment. Dkt. 142, ¶
                 21           23.
                 22         Dykzeul thereafter decided to start selling insurance, and she took the
                 23           California Life and Health insurance exam in July 2018. Dkt. 142, ¶ 24. On
                 24           August 31, 2018, she became a licensed insurance agent to sell life and
                 25           health in insurance in California. Id.
                 26         In October 2018, she went to work with Millennia Tax Relief. Dkt. 142, ¶
                 27           25.
                 28     ///
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                    1       In December 2018, she left Milennia Tax Relief and started working with
                    2         two other companies, Aflac and Mass Mutual. Dkt. 142, ¶ 26.
                    3       Finally, in February 2019, she accepted a full-time sales position with a
                    4         company called Goldco selling gold and silver. Dkt. 142, ¶ 27.
                    5         This record alone shows that Dykzeul was a serial job-hopper who never
                    6   stayed in one job for long and was always looking for the next opportunity. Nor
                    7   was her job-hopping limited to the period after Dykzeul interviewed at Charter; her
                    8   prior employment history shows more of the same. Aukstikalnis analyzed
                    9   Dykzeul’s complete employment history, and determined that:
                 10         For jobs held by Dykzeul since 1996, her average length of employment was
                 11           1.21 years.
                 12         For jobs held since 2011, her average length of employment was 0.71 years
                 13           (8.6 months).
                 14         From October 2015 to the time of trial, she held eight different jobs, with an
                 15           average job length of 0.67 years (8 months).
                 16     Dkt. 143 at 9:2-8.
                 17           Dykzeul may have felt she had good reason to keep changing jobs, but her
                 18     frequent job changes suggest her experience at Charter also would have been short-
                 19     lived, particularly if she came into the job expecting it to be easy and that she was
                 20     going to make $100,000-plus a year, as she has claimed in this proceeding. Based
                 21     on other new DSR’s real-world experiences and Dykzeul’s own employment
                 22     history, the most likely scenario is that Dykzeul would have quickly been
                 23     disappointed working at Charter and moved on to another job, just like she has
                 24     done everywhere else. Based on this evidence alone, there is no reason to believe
                 25     that Dykzeul would have worked for Charter in Turlock—a known difficult
                 26     territory and in a job with high a turnover rate and where 73% of employees lasted
                 27     less than 9 months—for four years, let alone until retirement, as Dykzeul claims in
                 28     this lawsuit.
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                    1          However, the evidence got worse for Dykzeul at trial, particularly with
                    2   respect to one of her subsequent employers, Patient Care. At trial, Dykzeul testified
                    3   that, in April 2018, she voluntarily left a successful position at Life Alert to pursue
                    4   what she believed was a better opportunity at Patient Care. 7/21/21 Trial Tr. at
                    5   317:2-7. Patient Care provided a base annual salary of $70,000 plus commissions
                    6   and full benefits. Id. at 317:8-14; Dkt. 142, ¶ 23.
                    7         Dykzeul’s tenure at PCA began with a 90-day probationary period. 7/21/21
                    8   Trial Tr. at 317:15-19. Contrary to her claims of having been a star employee
                    9   everywhere she went, her probationary period at PCA was extended by an
                 10     additional thirty days. Id. at 317:20-22. Although Dykzeul professed at trial not to
                 11     recall why Patient Care extended her probationary period, in truth it was extended
                 12     because Patient care determined she required extra training. 7/21/21 Tr. at 317:20-
                 13     318:6; Dkt. 158, 7/22/21 Trial Tr. at 10:13-18, 27:17-21.
                 14           Dykzeul also tried to avoid answering questions about various training and
                 15     counseling she received at Patient Care, ultimately testifying that she could not
                 16     remember whether she had received counseling at Patient Care about lack of
                 17     product knowledge or having trouble remembering names. 7/21/21 Tr. at 318:15-
                 18     319:15. Although Dykzeul admitted that she was let go from Patient Care, she
                 19     denied at trial that it was for performance reasons and claimed she was
                 20     “[a]bsolutely” certain that she was never given a reason for her termination despite
                 21     asking for one:
                 22           Q.     Didn’t she [Indira Seonne, Patient Care’s HR director] tell
                                     you that you were being let go for performance problems?
                 23
                              A.     No.
                 24
                              Q.     And you're certain of that?
                 25
                              A.     Absolutely. I asked. I never got an answer.
                 26
                 27     7/21/21 Trial Tr. at 319:25-320:18.
                 28     ///
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                    1         Dykzeul also denied having any problems meeting her sales targets at Patient
                    2   Care. 7/21/21 Tr. at 320:19-321:11.
                    3         Patient Care’s then-HR Director, Indira Seoane, testified at trial, exposing
                    4   Dykzeul’s false claims about her time at Patient Care. Seoane testified that she was
                    5   the one who informed Dykzeul of her termination, and that Seoane specifically
                    6   informed Dykzeul that she was being terminated for poor performance:
                    7         Q:    Do you recall – well, were you involved in the decision to
                                    terminate Ms. Dykzeul’s employment?
                    8
                              A:    Yes.
                    9
                              Q:    Do you recall the reason why her employment was
                 10                 terminated? Why was it terminated?
                 11           A:    Due to performance.
                 12           ...
                 13           Q:    Did you – were you involved in the process of informing
                                    Ms. Dykzeul about her termination at all?
                 14
                              A:    Yes.
                 15
                              Q:    How so?
                 16
                              A:    I was the one that did her termination.
                 17
                              Q:    And how was the information conveyed to Ms. Dykzeul?
                 18
                              A:    It was via a conference call because we are all in different
                 19                 states. . . . And I informed Teresa that thher employment
                                    was being terminated as of April 30 , 2018, due to
                 20                 performance.
                 21           ...
                 22           Q:    Okay. And now did you specifically inform her the reason
                                    during that call why her employment was being
                 23                 terminated?
                 24           A:    Yes.
                 25           Q:    And that it was being terminated for performance
                                    reasons?
                 26
                              A:    That’s correct.
                 27
                 28     Dkt. 158, 7/22/21 Trial Tr. at 7:8-13, 19:23-20:21.
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                    1         Seoane was asked what about Dykzeul’s performance led to her termination,
                    2   and she explained that Dykzeul’s supervisor, who had just spent some time
                    3   shadowing Dykzeul visiting clinics, reported that Dykzeul was not prepared for
                    4   meetings, made inappropriate comments, and did not have product knowledge.
                    5   Dkt. 158, 7/22/21 Trial Tr. at 11:14-15:25. Trial Exhibit 55, an email thread
                    6   between Dykzeul’s then-supervisor and Seoane documented the numerous
                    7   problems Dykzeul’s supervisor experienced with Dykzeul’s performance. Dkt.
                    8   165, TE 55, pp. 11-14. Notably, the Court admitted an unredacted version of Trial
                    9   Exhibit 55 over Dykzeul’s objections. See Dkts. 164 and 166. Previously, Dykzeul
                 10     had attempted to hide these documents from the Court and Charter by redacting
                 11     them. See Dkt. 164 (“Numerous exhibits in the Court’s exhibit binder consist of
                 12     totally redacted pages.”).
                 13           In the email that was admitted as Trial Exhibit 55, Dykzeul’s supervisor
                 14     summarized her experience with Dykzeul:
                 15                  This was our last visit of the day at which point we returned
                                     to the car where I expressed my concerns with Teresa’s
                 16                  lack of planning, preparation and clinical knowledge.
                                     Teresa replied that she was not surprised about her vast
                 17                  weaknesses and that she was excited to be able to “learn
                                     from me”.
                 18
                                     In summary, I’m gravely concerned about Teresa’s ability
                 19                  to be successful in her role which I believe is negatively
                                     impacting our business in Southern California. Based on
                 20                  my observations, Teresa is not perceived as a competent
                                     and trusted resource but rather as someone who is
                 21                  ‘confusing and difficult’ and in my opinion, clinically
                                     incompetent.
                 22
                 23           At trial, Seoane also explained that the 90-day performance evaluation
                 24     Dykzeul misleadingly described as “great” in her trial declaration actually showed
                 25     that Dykzeul’s performance up to that point was underwhelming. Dkt. 158, 7/22/21
                 26     Trial Tr. at 7:14-10:25, 24:11-21, 27:17-21, 40:3-23; TE 27. Dykzeul had zero
                 27     “starts” while her 90-day goal was four, and she only had 17 “referrals” while
                 28     Seoane estimated that the average representative brought in over 50 a week. Id. As
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                    1   Seoane put it, Dykzeul’s 17 referrals was “a very low number” indicative of “poor
                    2   performance.” Id. In short, Dykzeul’s job history after her interview with Charter
                    3   completely undermines her contention that she would have been a long-term,
                    4   superstar performer at Charter if she had only gotten the DSR job.
                    5   IV.     LIABILITY
                    6           A.     Legal Framework
                    7           Dykzeul asserts both intentional and failure to accommodate religious
                    8   discrimination claims under Title VII of the Civil Rights Act of 1964 (“Title VII”)
                    9   and the California Fair Employment and Housing Act (the “FEHA”). Although
                 10     there are slight differences in nomenclature, Title VII and the FEHA prohibit the
                 11     same things.
                 12             An employer violates both statutes if it makes an adverse employment
                 13     decision “because of” an employee or applicant’s religion, religious beliefs, or
                 14     religious practice. 42 U.S.C. § 2000e–2(a); Cal. Gov’t Code § 12940(a). A
                 15     violation of both statutes also occurs if an employer fails to reasonably
                 16     accommodate a religious practice or observance that it could have without undue
                 17     hardship. 42 U.S.C. § 2000e(j); Cal. Gov’t Code § 12940(l).
                 18             The analyses of Dykzeul’s Title VII and FEHA claims are the same. See,
                 19     e.g., Cook v. Lindsay Olive Growers, 911 F.2d 233, 241 (9th Cir. 1990) (applying
                 20     Title VII precedent to plaintiff’s state law FEHA claim in a religious
                 21     accommodation case); Madsen v. Associated Chino Tchrs., 317 F. Supp. 2d 1175,
                 22     1180 (C.D. Cal. 2004) (“Where a plaintiff alleges discrimination based on religion,
                 23     a court may rely on federal Title VII law alone.”).1
                 24
                        1
                            As the Court recognized in its summary judgment order:
                 25
                                The analysis of a religious discrimination claim is the same
                 26             under FEHA and Title VII. California courts have observed
                                that “[a]lthough the wording of [T]itle VII differs in some
                 27             particulars from the wording of FEHA, the antidiscriminatory
                                objectives and overriding public policy purposes of the two acts
                 28             are identical.” Therefore, “California courts apply the Title VII
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                    1         B.     Charter Could Not Accommodate Dykzeul’s Inability To Work
                                     All Saturdays Without Undue Hardship
                    2
                    3         Dykzeul insists that Charter needed to excuse her from having to work Friday
                    4   evenings and Saturdays entirely, reduce her sales targets and performance
                    5   expectations, and allow her to work a reduced work schedule of Monday through
                    6   sundown Friday to satisfy its duty to accommodate. Alternatively, she contends
                    7   that Charter could have accommodated her by either letting her make up her Friday
                    8   evening and Saturday hours on Sundays or letting her work longer hours on the
                    9   weekdays.
                 10           Under both Title VII and the FEHA, a claim for failure to accommodate
                 11     religious beliefs fails if an employer “show[s] either that it initiated good faith
                 12     efforts to accommodate reasonably the employee’s religious practices or that it
                 13     could not reasonably accommodate the employee without undue hardship.” Tiano
                 14     v. Dillard Dep’t Stores, Inc., 139 F.3d 679, 681 (9th Cir. 1998) (emphasis added);
                 15     California Fair Employment & Housing Com. v. Gemini Aluminum Corp., 122
                 16     Cal.App.4th 1004, 1011 (FEHA) (“Once the employee establishes a prima facie
                 17     case with sufficient evidence of the three elements, the burden shifts to the
                 18     employer to establish that ‘it initiated good faith efforts to accommodate or no
                 19     accommodation was possible without producing undue hardship’ ”) (emphasis
                 20     added).2
                 21           Undue hardship is determined “on a case-by-case basis.” Berry v. Dep’t of
                 22     Soc. Servs., 447 F.3d 642, 655 (9th Cir. 2006). “[A]n accommodation causes
                 23     ‘undue hardship’ whenever that accommodation results in ‘more than a de minimis
                 24
                              framework to claims brought under FEHA.” The Court
                 25           therefore analyzes Plaintiff’s discrimination claims under Title
                              VII and FEHA together.
                 26           (citations omitted).
                        2
                          Dykzeul incorrectly suggests in her brief that an employer must prove that it made
                 27     both a good faith effort to accommodate and that any proposed accommodation
                        would cause undue hardship.
                 28
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                    1   cost’ to the employer.” Ansonia Bd. of Educ. v. Philbrook, 479 U.S. 60, 67, 107 S.
                    2   Ct. 367, 371, 93 L. Ed. 2d 305 (1986) (citing Trans World Airlines, Inc. v.
                    3   Hardison, 432 U.S. 63, 84, 97 S. Ct. 2264, 2269, 53 L. Ed. 2d 113 (1977).3 Courts
                    4   have observed that undue hardship “is not a difficult threshold to pass.” Webb v.
                    5   City of Philadelphia, 562 F.3d 256, 260 (3d Cir. 2009).
                    6         The Ninth Circuit has held that undue hardship can come in the form of
                    7   “higher wages” or “additional costs in the form of lost efficiency.” Opuku-Boateng
                    8   v. State of Cal., 95 F.3d 1461, 1468 (9th Cir. 1996) (internal citations omitted).
                    9   Thus, “[t]he cost of hiring an additional worker or the loss of production that results
                 10     from not replacing a worker who is unavailable due to a religious conflict can
                 11     amount to undue hardship.” Lee v. ABF Freight System, Inc., 22 F.3d 1019, 1023
                 12     (10th Cir. 1994).
                 13           Costs to the employer are not the only means by which undue hardship can
                 14     be established. Rather, “[a]n employer may prove that an employee’s proposal
                 15     would involve undue hardship by showing that either its impact on coworkers or its
                 16     cost would be more than de minimis.” Bhatia v. Chevron U.S.A., Inc., 734 F.2d
                 17     1382, 1384 (9th Cir. 1984) (emphasis added); see also Balint v. Carson City, Nev.,
                 18     180 F.3d 1047, 1054 (9th Cir. 1999) (en banc) (“Undue hardship may also be
                 19     present when an accommodation would cause more than a de minimis impact on
                 20     coworkers[.]”); accord Harrell v. Donahue, 638 F.3d 975, 980 (8th Cir. 2011)
                 21     (“[A]n accommodation creates an undue hardship if it causes more than a de
                 22     minimis impact on co-workers.”) (internal citations omitted). While coworker
                 23     “grumbling or unhappiness” is insufficient, “actual imposition on co-workers or
                 24     disruption of the work routine” can constitute undue hardship. Burns v. S. Pac.
                 25     Transp. Co., 589 F.2d 403, 407 (9th Cir. 1978); see also EEOC v. Firestone Fibers
                 26     3
                         Under the FEHA, “undue hardship” is defined as an “action requiring significant
                        difficulty or expense” considered in light of, among other factors, “the nature and
                 27     cost of the accommodation needed,” and “the type of operations, including the
                        composition, structure, and functions of the workforce . . . .” Cal. Gov’t Code
                 28     § 12926(u).
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                    1   & Textiles Co., 515 F.3d 307, 317 (4th Cir. 2008) (“[A]n employer is not required
                    2   to accommodate an employee’s religious need if it would impose personally and
                    3   directly on fellow employees.”).
                    4         The costs of providing a proposed accommodation need not be “quantifiable”
                    5   so long as they are “present and real.” Cook v. Chrysler, 981 F.2d 336, 339 (8th
                    6   Cir. 1992). Moreover, “Title VII does not require an employer to actually incur
                    7   accommodation costs before asserting that they are more than de minimis.” Bruff v.
                    8   N. Mississippi Health Servs., Inc., 244 F.3d 495, 501 (5th Cir. 2001); Virts v.
                    9   Consol. Freightways Corp. of Delaware, 285 F.3d 508, 519 (6th Cir. 2002) (“[A]n
                 10     employer does not have to actually experience the hardship in order for the hardship
                 11     to be recognized as too great to be reasonable.”).
                 12           Dykzeul’s proposed accommodations are unreasonable and would have
                 13     caused undue hardship. First, excusing Dykzeul from having to work all Friday
                 14     evenings and all Saturdays would have caused Charter to incur more than de
                 15     minimis costs; Charter would have had to operate with one less DSR during those
                 16     key hours, resulting in lost efficiencies in the form of lost production, missed sales
                 17     opportunities, and having to restructure its entire territorial assignment and rotation
                 18     system. Second, Dykzeul’s proposal to work Sundays instead of Saturdays (or her
                 19     attorneys’ suggestion of longer hours on the weekdays) would have negatively and
                 20     directly imposed upon her supervisor; Swift would have been forced to work
                 21     additional days and hours on a permanent basis that he otherwise was not required.
                 22                  1.     Working Saturdays Was A Requirement For DSRs In October
                                            2015 When Dykzeul Applied
                 23
                 24           Dykzeul contends that Charter’s Saturday work requirement when Dyzkeul
                 25     applied. But the only competent evidence on this point is the testimony of Swift
                 26     and Prunty, the only trial witnesses that held positions at Charter who had personal
                 27     knowledge about Charter’s policies and requirements in October 2015.
                 28           Swift testified that working Saturdays was unequivocally required in October
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                    1   2015 and explained that the reason was because, historically, it was “the best
                    2   production day of the week.” 7/20/21 Trial Tr. at 150:15-22; 7/21/21 Trial Tr. at
                    3   215:20-216:2. Swift explained, moreover, that the requirement was a directive that
                    4   came from his sales manager, not something that he made up like some sort of
                    5   rogue supervisor Dykzeul would have the Court believe. Id. at 218:7-12.
                    6         Swift’s testimony is corroborated by Prunty, who was an in-house recruiter
                    7   for DSRs and screened Dykzeul over the phone. At her deposition, Prunty testified:
                    8         Q: Okay. And when you say that you go over the requirements [of the DSR
                    9   position] during the prescreening, are you re-asking them the exact questions that
                 10     are in the profile?
                 11           A: No.
                 12           Q: Okay, so you’re asking them different questions?
                 13           A: No. I’m just not asking them the questions that are exactly in the profile.
                 14     What I do is I state what the requirements are, and I ask them are they okay with
                 15     them, because they already answered them in there that they were, but I’m just
                 16     going over it again with them. It’s more of a conversation instead of a
                 17     question/answer.
                 18           Q: Okay. So you don’t ask them verbatim each question that they already
                 19     answered in the profile?
                 20           A: I state what the requirements are for the position, which includes the
                 21     questions in the profile, and I ask them are they okay with that, and they answer
                 22     “yes” or “no.”
                 23           Q: In regards to the hours, what specifically do you state to them the
                 24     requirement is?
                 25           A: That it’s required that they work evenings and Saturday.
                 26           Q: Okay, so you specifically tell them Saturdays?
                 27           A: Yes.
                 28           Q: And who told you to say “Saturdays” instead of “weekends”?
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                    1         A: I – that’s how I was trained because that’s the requirements of the
                    2   position.
                    3   Dkt. 148, Prunty Dep. at 32:21-34:1.
                    4         Swift’s and Prunty’s testimony credibly establish that DSRs were required to
                    5   be available to work Saturdays at the time of Dykzeul’s application. As a sales
                    6   supervisor, of course, Swift knew what days Charter required DSRs to be available
                    7   to work. He held a management position and his responsibilities included
                    8   supervising, interviewing, and hiring DSRs. Prunty, a recruiter, was likewise privy
                    9   to what days DSRs worked because she was responsible for reviewing applications
                 10     and screened candidates to ensure that those who interviewed met the minimum
                 11     requirements, including the ability to work Saturdays. The two of them were in
                 12     managerial and human resources positions, and both had personal knowledge about
                 13     the relevant company policies and requirements for DSRs.
                 14           Dykzeul also attempts to dispute that working Saturdays was required in
                 15     2015 with the anecdotal experiences of three former DSRs – Krystyna Amaral,
                 16     Daniel Blond, and Neila Denneen – who worked under Swift at various times.
                 17           Two of them, Amaral and Blond, didn’t start working for Charter until more
                 18     than two years after Dykzeul applied and thus have no relevant personal knowledge
                 19     about what the schedule requirements were in October 2015. Moreover, whatever
                 20     personal knowledge they do have actually confirms that Charter expected and
                 21     required its DSRs to work Saturdays. Blond testified that Swift told him during his
                 22     interview that DSRs worked “Monday through Friday from 11:00 a.m. to 8:00 p.m.
                 23     and then on Saturdays from 9:00 to 3:00, and with me that wasn’t an issue.”
                 24     7/20/21 Trial Tr. at 45:10-23. Amaral similarly testified that Swift told her during
                 25     her interview that DSRs worked Monday through Friday and Saturdays. Id. at
                 26     91:23-92:4.
                 27           The third, Denneen, was hired and managed by someone else until Swift
                 28     became her supervisor around the end of her time with Charter in 2016. Dkt. 153,
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                    1   Denneen Dep. at 10:2-11:13, 16:6-15. And although she testified at her deposition
                    2   that whoever hired her in 2013 told her working Saturdays was optional, that was
                    3   approximately two years before Dykzeul applied to Charter, and she acknowledged
                    4   that after Swift became her supervisor (right around the time Dykzeul applied) that
                    5   he would “push” her to work Saturdays, like “you got to work Saturdays.” Id.
                    6   Finally, Denneen testified she had “major surgery” while she was employed at
                    7   Charter and that she had “a lot going on, so a lot of things are kind of a blur” to her.
                    8   Id. at 106:3-13. In light of Denneen’s testimony that when Swift became her
                    9   supervisor, he pushed her to work Saturdays, and that her recollection of matters
                 10     from that time period are a “blur,” her testimony actually reinforces that working
                 11     Saturdays was expected and required at the time of Dykzeul’s application.
                 12           In sum, the credible testimony of Charter’s management and human
                 13     resources personnel establishes that DSRs were required to work Saturdays when
                 14     Dykzeul applied for the position. The speculative and subjective beliefs of non-
                 15     management employees, two of whom weren’t even employed when Dykzeul
                 16     applied, do not convincingly call into question that requirement.
                 17                  2.     Exempting Dykzeul From Working Friday Evenings and
                                            Saturdays and Adjusting Her Performance Goals Would Have
                 18                         Resulted in Lost Efficiencies
                 19           Dykzeul first proposes that Charter could have excused her from having to
                 20     work all Friday evenings and all Saturdays entirely, adjusted her performance
                 21     expectations, and allowed her to work a reduced four-and-a-half-day schedule. But
                 22     this accommodation obviously would have resulted in lost production and missed
                 23     sales opportunities.
                 24           Addressing “the extent of [a]n employer’s obligation under Title VII to
                 25     accommodate an employee whose religious beliefs prohibit him from working on
                 26     Saturdays,” 432 U.S. at 66, the Supreme Court in Hardison held that the employer
                 27     was not required to permit the plaintiff to work a four-day week when necessary in
                 28     order to avoid Saturday shifts so that he could observe the Sabbath. If the employer
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                    1   did not replace the plaintiff it would be left short-handed during the weeks that the
                    2   plaintiff did not work Saturday, and the alternatives of pulling personnel from other
                    3   departments to fill in for the plaintiff or paying premium wages to employees not
                    4   scheduled but willing to work involved costs to the employer “either in the form of
                    5   lost efficiency in other jobs or higher wages.” Id. at 84. Each alternative, the
                    6   Supreme Court concluded, would amount to undue hardship because the employer
                    7   would be required to “bear more than a de minimis cost.” Id. at 84.
                    8         Applying the Supreme Court’s holding and rationale in Hardison, Dykzeul’s
                    9   proposal that she simply be excused from working Saturdays would involve more
                 10     than de minimis costs to Charter and cause undue hardship. At the time of
                 11     Dykzeul’s application, Charter required and expected its DSRs to work six days a
                 12     week, Monday through Saturday. The requirement that DSRs work Saturdays was
                 13     not arbitrary. First, Saturdays were generally the most productive day of the week.
                 14     Second, it was important for DSRs to work Saturdays to increase the chances of
                 15     reaching all decision makers in a particular household, and of reaching certain
                 16     segments of the population that are usually not home during the usual hours that
                 17     DSRs worked on the weekdays, such as people who work unconventional hours
                 18     Monday through Friday. As sales supervisor Swift explained at trial:4
                 19           Q: In the October 2015 time period, was availability to work on
                 20           Saturdays a requirement for DSRs who reported to you?
                 21           A: Yes.
                 22
                              Q: Why was that?
                 23
                 24           A: Because Saturday typically was, throughout history in this
                              business, since I’ve been in the business, Saturday was the best
                 25           production day of the week.
                 26
                        4
                 27       Swift has extensive experience – over 30 years – in door-to-door sales in the cable
                        industry as a sales representative and supervisor, at Charter and with other
                 28     companies including for period of time his own business.
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                    1       Q: And with respect to the Saturday work, what was your
                    2       concern there?

                    3       A: Well, again, Saturdays, are really the most productive day of
                    4       the week. If we don’t work Saturdays, there are people we’ll
                            never contact and there are lost sales that I don’t believe, if
                    5       you’re working the proper hours on Monday through Friday, I
                    6       don’t believe you’re going to make it up.
                    7       ...
                    8       Q: In your experience, did you find that within a group of – let’s
                            say – 400 addresses, that the people who were likely to be home
                    9       differed between, say, during the weekday, during the weekday
                 10         evening, and during a weekend?
                 11         A: Yes.
                 12
                            Q: And could you explain?
                 13
                 14         A: There are people that maybe they’re out of town during the
                            weekdays, maybe they have a job out of town and they come
                 15         home on the weekends. First of all, it’s very difficult to contact a
                 16         hundred percent of your leads. I don’t think anyone ever did it.
                            But during the weekdays, you have – roughly, we had three to
                 17         four hours of really productive time, that’s the evenings [sic]
                 18         time, to really contact decision-makers. You can’t get to all your
                            leads in five days. So Saturday, Saturday morning, Saturday
                 19         evenings, you found that you did contact those people that lived
                 20         in the addresses that are habitually not home.
                            The exact reasons why we couldn’t seem to catch them on the
                 21         weekdays, I don’t know exactly why. But I’m sure there are a
                 22         number of variables.
                            ...
                 23
                 24         Q: Okay. So in your experience were there some customers who
                            are more likely to be available and contacted on a Saturday than
                 25
                            they were other days of the week?
                 26
                            Mr. Cherne: Same objections.
                 27
                 28         The Court: Well, I want to hear the answer but I don’t –
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                    1         (laughing).
                    2
                              The Witness: Well, you’re more likely, because people – most
                    3         people work a five-day workweek, you’re more likely to contact,
                    4         if it’s a married couple or roommate situation, you’re just more
                              likely to contact both decision-makers or all decision-makers in
                    5         that address.
                    6
                              And that’s really what you – that’s really what you want. You
                    7         don’t want the case to where you contact the husband and he
                    8         defers: Gee, I can’t do anything until I talk to my wife. So it
                              accelerates the closing process if all the decision-makers in the
                    9         home are home at the time you contact them.
                 10
                 11     7/21/21 Trial Tr. at 213:14-215:8, 215:20-216:2, 225:9-18.
                 12           Put simply, the job of DSRs is to sell. If Charter excused Dykzeul from ever
                 13     having to work Friday evenings or Saturdays, it necessarily meant that Swift’s team
                 14     would have had to operate indefinitely with one less DSR on Saturdays. Naturally,
                 15     a salesperson who works five days a week knocks on fewer doors, and follows up
                 16     on fewer leads, than if he or she worked six days a week. Fewer doors knocked
                 17     means fewer contacts with prospective customers, which are critical to making
                 18     sales. The loss in productivity and missed sales opportunities that would result
                 19     from Dykzeul working a permanently reduced schedule is self-evident.
                 20           Accordingly, Dykzeul’s suggestion that Charter simply excuse her from ever
                 21     having to work a Friday evening or Saturday, when no other DSRs received the
                 22     same guarantee, is an unreasonable accommodation that would have caused a more
                 23     than de minimis burden on the conduct of Charter’s business.5
                 24     5
                          Moreover, if Charter permanently excused Dykzeul from ever having to work
                        Friday evenings and Saturdays, it would be treating her more favorably than other
                 25     DSRs solely because of her religious beliefs. She would never have to work Friday
                        evenings or Saturdays, while other DSRs were expected and scheduled to work.
                 26     No other DSRs requested, or received, every Friday evening or Saturdays off. The
                        Ninth Circuit has stated that Hardison bars “ ‘preferential treatment of employees’
                 27     ” on account of religion. Opuku-Boateng, 95 F.3d at 1469-70 (9th Cir. 1996)
                        (quoting Tooley v. Martin-Marietta Corp., 648 F.2d 1239, 1243 (9th Cir. 1981).
                 28     An accommodation that would completely exempt Dykzeul from one day of work
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                    1                3.    Dykzeul Could Not Work Sundays Instead Of Saturdays Without
                                           Undue Hardship Because Her Supervisor Would Have To Work
                    2                      On His Only Day Off
                    3         Dykzeul next proposes that Charter should have accommodated her by
                    4   permitting her to work Sundays instead of Saturdays. But doing so would have
                    5   caused a real and actual imposition upon Swift, who would have to work seven
                    6   days a week without a day off.
                    7         It is undisputed that Swift worked six days a week, Monday through
                    8   Saturday, at the time of Dykzeul’s application and that he would have to be on call
                    9   Sundays – and thus work seven days a week – if Dykzeul worked Sundays instead
                 10     of Saturdays. 7/21/21 Trial Tr. at 225:16-227:12. Also undisputed is the fact that
                 11     Swift needed to be on call and, at a minimum, available by phone to answer any
                 12     questions and address any issues that might arise when DSRs were out in the field,
                 13     including responding when necessary to any accidents or incidents that they might
                 14     be involved in. Id. at 205:22-209:6, 211:7-16.
                 15           Swift testified that he received calls from DSRs for a variety of reasons,
                 16     including upset customers, technicians that missed an installation appointment with
                 17     customers, pricing issues, and questions about the product or competitors. 7/21/21
                 18     Trial Tr. at 205:22-208:16. He received numerous calls from DSRs, sometimes
                 19     five to ten a day. Id. There were also occasions as a supervisor for Charter when
                 20     Swift had to respond to situations involving injury to his DSRs. Id. When DSRs
                 21     were injured on the job, Swift had to take them to the urgent care or meet them
                 22     there, go to scene where the injury occurred to investigate and try to contact
                 23     witnesses, and prepare and submit an accident report to human resources. Id. Each
                 24     incident took several hours for him to do what he needed, depending on where they
                 25     occurred. Id.
                 26           Because Swift was required to be on call whenever DSRs were in the field,
                 27
                        that other DSRs were expected and scheduled to work would amount to the very
                 28     “preferential treatment” that the Ninth Circuit has said Hardison prohibits.
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                    1   accommodating Dykzeul’s request to work Sundays instead of Saturdays
                    2   necessarily meant that Swift would have to work seven days a week. Dykzeul
                    3   trivializes the significance of being on call and in doing so ignores the fact that
                    4   Sundays were Swift’s only regular day off entirely free from any work obligations.
                    5   Swift often received calls from DSRs in the field regarding various issues and
                    6   sometimes even had to physically respond to a location, investigate, and prepare a
                    7   report when they got hurt. If Dykzeul worked a permanent Sunday schedule, Swift
                    8   would never have a day off completely free from work obligations and would be
                    9   restricted in the types of leisure activities he could engage in on Sundays.
                 10           This real and negative impact on Swift constitutes an undue hardship.
                 11     Where, as here, an employer would have to impose on an employee additional
                 12     responsibility to accommodate another employee’s Sabbath observance, courts have
                 13     consistently held that accommodation need not be provided because undue hardship
                 14     would result. See, e.g., Eversley, 843 F.2d at 176. (“[I]t is unreasonable and an
                 15     undue hardship on an employer to require the employer to force employees, over
                 16     their express refusal, to permanently switch from a daytime to a nighttime shift in
                 17     order to accommodate another employee’s different Sabbath observation.”);
                 18     Harrell, 638 F.3d at 980 (“[I]f accommodating an employee’s religious beliefs also
                 19     causes a ‘real’ and ‘actual’ imposition on co-workers, Title VII does not require an
                 20     employer to make such an accommodation.”); Chrysler Corp. v. Mann, 561 F.2d
                 21     1282, 1285 (8th Cir. 1977) (“Nor do we think that an employer should have to
                 22     adjust its entire work schedule to accommodate individual religious preferences and
                 23     practices.”); Vaughn v. Waffle House, Inc., 263 F. Supp. 2d 1075, 1084-85 (N.D.
                 24     Tex. Mar. 5, 2003) (holding that employer established undue hardship where it was
                 25     undisputed another district manager or senior member of management had to give
                 26     up their weekend days off to cover the plaintiff during his Sabbath; “where . . . an
                 27     employer’s accommodation would force other employees, against their wishes, to
                 28     modify their work schedules to accommodate the religious beliefs of a particular
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                    1   employee, the same constitutes an undue hardship.”); EEOC v. Dalfort Aerospace,
                    2   L.P., 2002 WL 255486, at *4 (N.D. Tex. Feb. 19, 2002) (“An accommodation that
                    3   would force other employees, against their wishes, to modify their work schedules
                    4   to accommodate the religious beliefs of the complaining employee would be
                    5   unreasonable and an undue hardship.”).
                    6         Relying on testimony from Blond and Amaral that they could work
                    7   occasional Sundays if they wanted, Dykzeul contends that letting her work Sundays
                    8   instead of Saturdays wouldn’t result in any hardship to Swift because he let other
                    9   DSRs work some Sundays. But that is comparing apples to oranges. As Swift
                 10     testified, DSRs occasionally worked a Sunday if they wanted to make some
                 11     additional income or were behind on their targets, but such instances were
                 12     “extremely rare”, and he could only recall it happening a few times over his seven
                 13     years with Charter. 7/20/21 Trial Tr. at 170:9-171:5; 7/21/21 Trial Tr. at 211:5-16.6
                 14     There is a stark difference between having to be on call an occasional Sunday,
                 15     which Swift was willing to do, and being forced to be on call every Sunday on an
                 16     indefinite and permanent basis, which Swift was unwilling to do. See Eversley v.
                 17     MBank Dall., 843 F.2d 172, 176 (5th Cir. 1988) (“[I]t is unreasonable and an undue
                 18     hardship on an employer to require the employer to force employees, over their
                 19     express refusal, to permanently switch from a daytime to a nighttime shift in order
                 20     to accommodate another employee’s different Sabbath observation.”). The fact is
                 21     Swift earnestly wanted to hire Dykzeul and thought long and hard about working
                 22     seven days a week. That he ultimately concluded he would not be able to handle it,
                 23     after working six days a week for 30 years, is perfectly reasonable and
                 24     understandable. 226:6-227:12.
                 25
                 26
                 27     6
                         Neither Blond nor Amaral testified at trial how many times or how often they
                 28     worked on a Sunday.
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                    1               4.     Dykzeul Could Not Work Longer Hours On Weekdays Without
                                           Undue Hardship Because Charter Would Suffer Lost
                    2                      Efficiencies
                    3         Lastly, Dykzeul suggests that Charter could have allowed her to work longer
                    4   hours on weekdays instead of Saturdays. However, substituting prime hours when
                    5   people are more likely to be home (Saturday) with unproductive hours (weekday
                    6   mornings and late evenings) would have resulted in lost efficiencies and therefore
                    7   undue hardship.
                    8         At the time of Dykzeul’s application, DSRs worked 11 a.m. to 8 p.m. on
                    9   weekdays (SF No. 8), which means that she would have to work in the early
                 10     mornings before 11 a.m. and late in the evenings after 8 p.m. to make up her
                 11     Saturday hours. But Swift and Dykzeul’s own witness, Daniel Blond, explained at
                 12     trial why there was no point to working in the mornings on the weekdays.
                 13           Swift explained that most people work Monday through Friday, and the best
                 14     hours on weekdays to try and sell Charter’s services were after people got home
                 15     from work. 7/21/21 Trial Tr. at 201:12-23; 245:11-14. This observation was
                 16     confirmed by Blond, who aptly testified:
                 17           Q: Okay. Now, although you were permitted to start working
                 18           early on a given day, in your experience you didn’t see the point
                              of starting at 8:00 or 9:00 in the morning, did you?
                 19
                 20           A: I did I several times and saw no reflection of any more
                              contacts during that time period because, like I said, normally
                 21           more contacts you would have is after 3:00 p.m. You really,
                 22           between 11:00 and 1:00 or 2:00, you’re basically walking
                              around half-empty neighborhoods. Everybody – the majority of
                 23           everybody is, you know, working during the day. The working
                 24           class people trying to save money are normally the ones you try
                              to sell the most and so.
                 25
                 26           ...
                 27           Q: And in your experience the main portion of DSR sales
                 28           happen between 5:00 and 8:00 p.m. on the weekday?
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                    1         A: Correct.
                    2   7/20/21 Trial Tr. at 72:3-73:5.
                    3         Blond also explained succinctly why working late into the evenings wasn’t
                    4   practical: “Your contacts go far down once it starts getting dark outside.” 7/20/21
                    5   Trial Tr. at 57:24-58:10.
                    6         It is common sense that people are generally more likely to be home on
                    7   Saturdays than on weekdays during normal work hours, more people are likely to
                    8   be home on weekdays after school and work, typically in the late afternoon and
                    9   early evening, and most people likely would not appreciate salespersons knocking
                 10     on their doors late at night. Charter required its DSRs to work Saturdays so that
                 11     they could reach portions of the population who are regularly not home on the
                 12     weekdays. 7/21/21 Trial Tr. 225:9-18. Substituting a DSR’s prime hours on
                 13     Saturdays when people are more likely to be home with unproductive hours on the
                 14     weekdays at times when people are either less likely to be home (mornings) or less
                 15     receptive (late evenings) reduces the pool of potential customers with whom the
                 16     DSR makes contact. This loss in efficiency would have amounted to more than de
                 17     minimis cost and an undue hardship to Charter’s conduct of its business.
                 18           C.     Charter Did Not Intentionally Discriminate Against Dykzeul
                                     Because Of Her Religion Or Religious Beliefs
                 19
                 20           Dykzeul’s claim that Charter intentionally discriminated against her because
                 21     of her religion or religious beliefs is easily dispensed with because the record
                 22     clearly demonstrates that the decision not to hire Dykzeul was not motivated by any
                 23     discriminatory animus.
                 24           “[L]iability for disparate treatment hinges upon proof of discriminatory
                 25     intent.” Am. Fed’n of State, Cty., & Mun. Emps., AFL-CIO (AFSCME) v. State of
                 26     Wash., 770 F.2d 1401, 1406 (9th Cir. 1985). The parties have stipulated that:
                 27     (1) Swift thought Dykzeul had potential and wanted to hire her; (2) Swift was the
                 28     sole decision-maker concerning Dykzeul’s employment application; (3) Swift
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                    1   concluded that he couldn’t accommodate Dykzeul by letting her work Sundays
                    2   instead of Saturdays because it would require him to work seven days a week; and
                    3   (4) the only reason Swift didn’t hire Dykzeul was because she couldn’t work on
                    4   Saturdays. SF Nos. 13, 14, 16, 17. These stipulated facts alone preclude any
                    5   finding of discriminatory motive behind the decision not to hire Dykzeul, and there
                    6   can be no contention that Swift had an improper motive or that his proffered reason
                    7   for not hiring Plaintiff was pretextual.
                    8         Dyzkeul argues in her closing brief that “Swift plainly treated other DSRs
                    9   differently . . . because Dykzeul was unavailable on Saturdays due to her religion.”
                 10     Not true. Swift did not hire Dykzeul because she was unavailable on Saturdays, not
                 11     because she was unavailable on Saturdays on account of her religion. In other
                 12     words, Swift did not care why Dykzeul couldn’t work Saturdays, only that she
                 13     couldn’t. Indeed, Swift testified that he interviewed other applicants in the past
                 14     who also stated that they were unavailable on Saturdays and he did not hire any of
                 15     those individuals. 7/21/21 Trial Tr. at 217:22-2189:6.
                 16           Dykzeul tries to persuade the Court that the decision not to hire her was the
                 17     result of intentional discrimination with the anecdotal and personal experiences of
                 18     three DSRs. But two of the DSRs, Blond and Amaral, were not hired until two or
                 19     more years after Dykzeul applied for the position and are thus not appropriate
                 20     comparators – i.e., their experiences are not evidence that similarly situated
                 21     individuals were treated more favorably when Dykzeul applied two or more years
                 22     prior. The third DSR, Denneen, was hired and managed by some other supervisor
                 23     until Swift became her supervisor, at which point Denneen acknowledged that
                 24     Swift impressed upon her that she had to work Saturdays. Dkt. 153, Denneen
                 25     Depo. at 11:3-13.
                 26           In short, Swift’s decision was not motivated by Dykzeul’s religion, but her
                 27     unavailability to never, ever – without exception – work a Saturday if she was
                 28     hired. Dykzeul has not identified a single “similarly situated” applicant who,
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                    1   without exception, could never work a Saturday and yet was hired, and there is no
                    2   evidence of any other circumstances suggesting discriminatory animus, hostility, or
                    3   intent. The only reasonable conclusion that can be reached in this case, based on
                    4   the stipulated facts and evidence, is that Swift didn’t hire Dykzeul was because she
                    5   couldn’t work Saturdays. The reason she couldn’t work Saturdays was completely
                    6   irrelevant to Swift. There was no discriminatory intent, and without discriminatory
                    7   intent there can be no intentional discrimination.7
                    8
                        7
                    9     As the Court observed in its ruling on the parties’ cross-motions for summary
                        judgment and partial summary judgment:
                 10
                              “[T]he Court is skeptical that Plaintiff will be able to succeed on her
                 11           disparate treatment theory. Plaintiff’s claim fits more naturally
                              under the failure to accommodate rubric and it would be superfluous
                 12
                              if the same facts supported liability under Title VII for both failure
                 13           to accommodate and disparate treatment.” Dkt. 64 pp. 17-18.
                 14     The Court ultimately denied summary judgment on Dykzeul’s intentional
                        discrimination claim because it believed that she submitted sufficient evidence to
                 15     raise a triable issue whether Charter’s proffered explanation why Dykzeul was not
                 16     hired was pretextual. In particular, the Court found that Dykzeul’s evidence, at the
                        summary judgment stage, was “sufficient to call into question whether ‘the
                 17     [Saturday] work rule applies to all employees[.]’ ”
                 18     At the time, the parties had not yet stipulated for purposes of trial that the only
                 19     reason Swift did not hire Dykzeul is because she could not work Saturdays. Again,
                        given the parties’ stipulation, Dykzeul cannot show pretext.
                 20
                 21     Moreover, whether working Saturdays was actually required, a disputed fact in this
                        case, has no bearing on the question of discriminatory intent. Swift’s true reason
                 22     for not hiring Dykzeul, if nondiscriminatory, need not have been an actual work
                 23     requirement. See Guz v. Bechtel Nat'l, Inc., 24 Cal. 4th 317, 358 (2000). This is
                        because “a plaintiff in a discrimination case must show discrimination, not just that
                 24     the employer’s decision was wrong, mistaken, or unwise.” Veronese v. Lucasfilm
                 25     Ltd., 212 Cal. App. 4th 1, 21 (2012). Thus, “an employer may fire an employee for
                        a good reason, a bad reason, a reason based on erroneous facts, or for no reason at
                 26     all, as long as its action is not for a discriminatory reason.” Arteaga v. Brink’s, Inc.,
                 27     163 Cal. App. 4th 327, 344 (2008). “[T]he ultimate issue is simply whether the
                        employer acted with a motive to discriminate illegally. Thus, ‘legitimate’ reasons .
                 28     . . in this context are reasons that are facially unrelated to prohibited bias, and
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                    1   V.    DAMAGES
                    2         Dykzeul seeks back pay, emotional distress damages, and punitive damages.
                    3   If the Court finds for Dykzeul on any of her claims, it should: (1) calculate back pay
                    4   using the average of Turlock DSR earnings for the three-year period after her
                    5   application to estimate what her earnings would have been had Charter hired her;
                    6   (2) adopt Charter’s expert Aukstikalnis’ valuation method for lost benefits; (3) find
                    7   that Dykzeul fully mitigated her economic losses by 2017; (4) find that Dykzeul’s
                    8   right to back pay terminated no later than October 31, 2017, when she found a
                    9   higher-paying substantially equivalent sales position with Patient Care; (5) find that
                 10     Dykzeul failed to exercise reasonable care to maintain substantially equivalent
                 11     employment when her performance led to Patient Care terminating her employment
                 12     for cause; (6) find that Dykzeul is entitled to only minimal damages, if at all, for
                 13     garden variety emotional distress because there is no evidence that she suffered any
                 14     serious emotional harm as a result of not getting the DSR job; and (7) find that the
                 15     evidence in this case does not support an award of punitive damages.
                 16           A.     Back Pay
                 17                  1.      Dykzeul’s Post-Charter-Application Earnings
                 18           After Dykzeul interviewed for the Charter DSR position on October 15,
                 19     2015, she obtained subsequent employment as outlined in Section III.F. above. The
                 20     parties have stipulated to Dykzeul’s post-Charter-application earnings and value of
                 21     benefits for the period October 2015 through the first six months of 2021 as follows
                 22     (SF Nos. 20-38):
                 23           Year                   Total Earnings                  Value of Earnings
                 24                                                                    Plus Benefits
                              2015        AppStar:           $2,823                        $2,823
                 25
                 26
                 27     which, if true, would thus preclude a finding of discrimination.” Guz, 24 Cal. 4th at
                        358 (citation omitted) (emphasis in original).
                 28
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                    1                     AppStar:          $7,865.17
                              2016                                                     $26,944.39
                    2                     Heartland:       $10,991.72
                                          Life Alert:       $8,087.50
                    3                     Total:           $26,944.39
                    4         2017        Life Alert:      $58,849.00                  $71,449.01
                                          Patient Care:    $10,769.24
                    5                     Total:           $69,618.24
                    6         2018        Patient Care:    $26,301.10                  $33,574.96
                                          National Debt:     $738.56
                    7                     Millenia Tax:      $800.00
                    8                     Aflac:            $1,264.11
                                          Total:           $29,103.77
                    9                     Goldco:          $39,680.28
                              2019                                                     $46,534.05
                 10
                               2020       Goldco:          $120,466.83                 $140,946.19
                 11
                               2021       Goldco:          $179,361.50                     n/a
                 12         (through
                              first 6
                 13
                            months)
                 14
                                     2.      Average Turlock DSR Earnings Should Be Used To Estimate
                 15                          Dykzeul’s Lost Earnings, Not Puffery From A Job Advertisement
                                             As Advocated By Her Expert In His First Two Damages Models
                 16           Estimating economic loss in a failure-to-hire case is inherently speculative.
                 17     Even more so when, as here, potential earnings are not based on a fixed salary or
                 18     hourly rate but a base salary plus commissions. Commissions invariably depend on
                 19     sales and performance, and not having ever done the job, it is impossible to know
                 20     how an applicant would have performed if he or she had been hired.8
                 21           The Court should use the average of Turlock DSR earnings for the three-year
                 22     period after Dykzeul’s application to estimate her lost earnings. Charter’s expert,
                 23     Amy Aukstikalnis, analyzed the earnings data for the 29 Turlock DSRs that worked
                 24     between October 2015 and October 2018 and calculated their average annual
                 25     earnings. After trial, Dykzeul raised new objections to Trial Exhibit 35, the
                 26
                        8
                 27      That Dykzeul asks the Court to award two different amounts for lost earnings that
                        differ by nearly $200,000 just goes to show how speculative are her economic
                 28     damages.
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                    1   compensation data relied upon by Aukstikalnis and Dykzeul’s expert, Nutten, in his
                    2   third damages model. See Dkt. 155. Charter thereafter produced an updated
                    3   version of Trial Exhibit 35, with more complete data (the prior version had included
                    4   all base pay and commissions, but inadvertently omitted certain bridge payments
                    5   and paid time off, among other types of non-base, non-commission compensation),
                    6   and produced witness Martin Armstrong per the Court’s order for deposition (Dkt.
                    7   164), where he authenticated the updated version of Trial Exhibit 35 and was
                    8   available for cross-examination. Dkt. 173-2, Banks Decl. ¶¶ 3-9, Ex. C (Updated
                    9   Trial Exhibit 35); Ex. D (Armstrong Dep. at 32:24-33:3, 34:11-36:22).
                 10           Aukstikalnis has now reviewed the updated and complete data in updated
                 11     Trial Exhibit 35 and updated her calculations from trial accordingly. Her
                 12     Supplemental Trial Declaration, which maintains the same opinions but includes
                 13     her updated calculations, is being filed concurrently with this brief as an exhibit.
                 14     See Dkt. 173-1. Importantly, the updated data did not change any of her
                 15     methodology or opinions, but it did yield slightly higher damages estimates,
                 16     meaning that the new numbers are in Dykzeul’s, and not Charter’s, favor.
                 17           Based on the updated Trial Exhibit 35 data, Aukstikalnis now calculates the
                 18     average annualized earnings for the 29 Turlock DSRs that worked between October
                 19     2015 and October 2018 to be $35,577 and the median to be $31,768 during the
                 20     three-year period (in her initial calculations, the average was $30,346 and the
                 21     median was $24,985 (Dkt. 143 at 3:24-26)); Dkt. 173-1, ¶ 8. As Aukstikalnis
                 22     explained in her trial testimony, utilizing the three-year average of all DSRs who
                 23     worked in Turlock is appropriate because it is based on actual data rather than
                 24     speculative assumptions, and because it accounts for the economic reality that some
                 25     DSRs may be stellar, others might enjoy only moderate success, and still others
                 26     may flounder and flame out quickly (as most DSRs do).9 7/21/21 Tr. at 362:15-
                 27     9
                         Aukstikalnis testified that about 73.3% of Charter DSRs in Turlock between
                 28     October 2015 and October 2018 worked as a DSR for less than nine months.
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                    1   363:1, 364:11-15, 370:14-25; Dkt. 143, at 4:4-5.
                    2         Dykzeul contends, and her expert Nutten assumes, that Dykzeul would have
                    3   been a superstar performer at Charter, but the only basis for this claim is Dykzeul’s
                    4   hopes and beliefs and her testimony about how she claims to have performed in
                    5   other jobs. But there is no reason to believe Dykzeul’s testimony that she
                    6   performed well in her other jobs.
                    7         To the contrary, Dykzeul is a serial job-hopper who, until her current job
                    8   with Goldco, regularly changed jobs every few months. Dkt. 143, ¶ 17; see also
                    9   supra, Section III.F. Dykzeul has worked for 11 different employers since 2011
                 10     with an average length of employment of 8.6 months. Id. Looking at just the three
                 11     jobs that Dykzeul held in the five years before her Charter application, her average
                 12     length of employment was 9.6 months. Id. As of the trial in July 2021, Dykzeul
                 13     has held eight different jobs since her Charter application with an average job
                 14     length of 8 months. Id.
                 15           Moreover, the records and testimony of the human resources representative
                 16     from Patient Care establish that Dykzeul was an underachiever who struggled to
                 17     make sales, was disorganized, and ultimately was terminated for poor performance.
                 18     Dkt. 165, TE 55, pp. 11-14; Dkt. 158, 7/22/21 Tr. at 7:8-13, 11:14-15:25, 19:23-
                 19     20:21. Dykzeul tried to hide this fact by lying, under oath, about her performance
                 20     at Patient Care (claiming she got a stellar 90-day review when in fact it reflected
                 21     poor performance), asserting she did not to know why her employment there was
                 22     terminated, and also improperly redacting the records from Patient Care in the
                 23     apparent hope that Charter and the Court would never learn the truth. In light of
                 24     Dykzeul’s serial efforts to obstruct the truth about her time at Patient Care, there is
                 25     no reason to believe her claims about her allegedly great performance at any other
                 26     job and reason to believe she would have been a superstar performer at Charter. To
                 27     the contrary, there is every reason to believe that Dykzeul would have washed out
                 28     at Charter well before nine months passed.
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                    1            Being charitable and disregarding the weight of evidence that Dykzeul would
                    2   not have been a successful DSR at Charter, the best and most neutral predictor of
                    3   how Dykzeul would have performed had she been hired at Charter would be to look
                    4   at how others who worked during the same time period and in the same region
                    5   actually fared during the same time period. Using a three-year average of DSR
                    6   earnings as the back pay rate avoids unnecessary speculation and better reflects
                    7   what Dykzeul could be expected to have earned had Charter hired her. That is what
                    8   Charter’s expert, Aulkstikalnis, did in forming her opinions. 7/21/21 Tr. at 362:15-
                    9   363:1.
                 10              In contrast, Dykzeul’s expert, Nutten, offers two damages models that
                 11     disregard all the real-world data and rely on statements about earning “potential”
                 12     from a job advertisement. In these models, Nutten asks the Court to simply assume
                 13     Dykzeul would have been a top performing DSR at Charter because she had sales
                 14     experience before she applied with Charter and because she has had some success
                 15     in at least one sales position since her Charter application. But that is a false
                 16     equivalency. As Dykzeul’s own experience confirms, success in one sales position
                 17     is not necessarily predictive of success in others. Case in point: she has apparently
                 18     found success at Goldco but Patient Care fired her because she did not perform well
                 19     for them.
                 20              In creating his first two damages models, Nutten next assumes that, as a
                 21     high-achieving DSR, Dykzeul would have made either $100,000 or $75,000 a year
                 22     in total compensation based on a job description in an advertisement that provided
                 23     those two figures as examples of a DSR’s earnings “potential” if sales targets are
                 24     met. Specifically, the advertisement states, in relevant part: “If sales targets are
                 25     met, the average earning potential is $75k. The top tier reps can make upwards of
                 26     100K!” Ex. 29 (emphasis added).
                 27              As Swift testified, the claims made in the job advertisement were accurate
                 28     because they described earnings “potential” if a DSR met all of his or her sales
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                    1   targets. 7/21/21 Tr. at 220:21-222:8. However, the vast majority of DSRs did not
                    2   meet those targets or achieve those potential earnings. Id. Specifically, the targets
                    3   referenced in the advertisement referred to DSRs that regularly met their sales
                    4   targets of 21 “triple play” sales (cable, internet and phone service) each month. Id.
                    5   In 2015, Swift only had one DSR who regularly met that sales target each month.
                    6   7/21/21 Tr. at 222:9-24. Damages models should be based on facts and data, not
                    7   puffery from a job advertisement about earning “potential” that was only achieved
                    8   by one person.
                    9         In reality, sales jobs vary widely in terms of product demand elasticity,
                 10     compensation structure, and conditions. For example, at Goldco, Dykzeul sells
                 11     gold and silver and receives 3.5% commission for the former and 5% for the latter.
                 12     Dkt. 142, ¶ 27. Customers are required to make minimum purchases of $10,000 for
                 13     cash accounts and $25,000 for retirement accounts. Id. This means Dykzeul makes
                 14     a minimum of $350-$875 for each gold and $500-$1,250 for each silver sale.
                 15     Contrast Dykzeul’s ability to earn commissions at Goldco with Charter’s DSR
                 16     commission plan, under which Dykzeul would have received a flat sum for each
                 17     sale, which varied depending on whether she sold bundled or single services, and
                 18     whether she qualified for accelerators that would increase the amount of the fixed
                 19     sum based on her number of sales. TE 9. But before she would be eligible to
                 20     receive commissions at all, Dykzeul would have had to sell a minimum of 10
                 21     “triple plays” each commission period.10 Id. at p. 5. In other words, even if she had
                 22     100 internet sales and 100 “double play” sales, but 9 or fewer “triple play” sales,
                 23     Dykzeul would have received zero in commissions.
                 24           The earnings data reflects that a meager 1 out of 29 DSRs (approximately
                 25     3%) in Turlock between October 2015 and October 2018 actually earned more than
                 26     $75,000 a year. Dkt. 143 at 3:27-28. Further, as Swift explained at trial, it is
                 27     10
                          A “triple play” is a bundle of all three Charter services while a “double play is a
                        bundle of internet and either cable or telephone.
                 28
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                    1   difficult for DSRs to make sales, the position has a high turnover rate, and DSRs
                    2   typically left because they couldn’t make enough money and had to deal with the
                    3   rejection they “receive every day which is probably about 98 percent of the people”
                    4   they encounter. 7/21/21 Trial Tr. at 236:16-22; 237:20-280:21. Blond and Amaral,
                    5   who were called by Dykzeul, also corroborated that it was difficult to make a lot of
                    6   money as a DSR. Amaral testified that while she was able to meet the minimum
                    7   threshold and sell enough to “keep [her] employment,” she never sold enough to
                    8   qualify for the commission accelerators. 7/20/21 Trial Tr. at 109:18-110:6. She
                    9   also confirmed that DSRs faced a lot of rejections (“We would play a game of see
                 10     who got the record of how many nos they would hit that day.”). Id. at 117:7-10
                 11     Blond testified that while he did relatively well in his first month, making $14,000
                 12     in base plus commissions, his total compensation went down to $6,000 in the
                 13     second month, $2,500 the month after that, and then $1,500 in his last month as a
                 14     DSR, when he finally decided to quit because he wasn’t sure he was even going to
                 15     have enough qualifying sales to meet the minimum threshold to be eligible for
                 16     commissions. Id. at 73:6-75:3. Notably, Blond’s precipitous drop in sales
                 17     coincided with the time period when he started taking some Saturdays off. Id. at
                 18     65:5-10.
                 19           In sum, Dykzeul’s approach to calculating back pay relies entirely on
                 20     speculative and unsupported assumptions, while Charter’s models look at what the
                 21     average DSR actually made during the relevant time period as the measure of
                 22     Dykzeul’s lost earnings. Nutten’s first two models should thus be disregarded as
                 23     unhelpful and not based on the evidence, while Aukstikalnis’s models should be
                 24     accepted, to the extent any damages analysis is necessary in this case.
                 25                  3.    Dykzeul’s Third Damages Model Should Be Disregarded
                                           Because It Utilizes Unreliable Methodology Based On
                 26                        Unrepresentative, Cherry-Picked Data
                 27           Nutten’s third damages model, which uses a weighted average to estimate
                 28     Dykzeul’s lost earnings, should be disregarded because the methodology he
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                    1   employs of picking and choosing favorable data while ignoring unfavorable data
                    2   renders his calculations speculative and unreliable.
                    3         Nutten arrived at the weighted average he uses by cherry picking the earnings
                    4   of six of the longest tenured and disproportionately higher-earning Turlock DSRs,
                    5   while ignoring the earnings of the other 23 DSRs in the available data set. In other
                    6   words, Nutten uses data that is most favorable to Dykzeul while excluding the most
                    7   unfavorable. By ignoring the earnings of approximately 80% of the Turlock DSRs
                    8   during the three-year period after Dykzeul’s Charter application, Nutten estimates
                    9   Dykeul’s lost earnings using what is in effect a “successful DSR” average. As
                 10     discussed, however, there is no objective or reliable basis to assume that Dykzeul
                 11     would have been a long-term successful DSR.
                 12           “ ‘Cherry-picking’ data is essentially the converse of omitting it: just as
                 13     omitting data might distort the result by overlooking unfavorable data, cherry-
                 14     picking data produces a misleadingly favorable result by looking only to ‘good’
                 15     outcomes.” E.E.O.C. v. Freeman, 778 F.3d 463, 469-70 (4th Cir. 2015) (Agee, J.,
                 16     concurring). Because Nutten’s third model is based on cherry-picked data that was
                 17     designed to produce an overly-favorable result, it is based on unsound methodology
                 18     and is not an appropriate, reliable, or useful measure of damages. It should be
                 19     disregarded.
                 20                    4.   Dykzeul’s Damages Models Also Inflate The Value Of Her
                                            Alleged Lost Benefits From Charter
                 21
                 22           Nutten estimated the value of benefits Dykzeul would have received as a
                 23     Charter DSR to be 17% of her earnings each year. According to Nutten, that
                 24     percentage is based on generalized Bureau of Labor Statistics benefits data that
                 25     included benefits that Dykzeul would not have received as a DSR. Dkt. 141, ¶ 6.
                 26     Aukstikalnis, on the other hand, estimated the value of the two specific types of
                 27     benefits for which Dykzeul would have been eligible, medical insurance and
                 28     retirement benefits.
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                    1         Aukstikalnis estimated the value of Charter health benefits using data from
                    2   the 2015 and 2016 Kaiser Family Foundation Annual Employer Health Benefits
                    3   Survey. Dkt. 143, ¶ 26. According to that survey, the average employer
                    4   contribution for health benefits, all plan types, was $5,176 in 2015, $5,306 in 2016,
                    5   and $5,477 in 2017. Id. For retirement benefits, because DSRs are eligible to
                    6   participate in a company 401(k) saving plan with an employer match of up to 3% of
                    7   wages, Aukstikalnis assumed Dykzeul would have made contributions to the 401(k)
                    8   plan had she been hired and received the maximum company 401(k) matching
                    9   contribution of 3%. Dkt. 143, ¶ 27.
                 10           Under Nutten’s methodology, the value of Dykzeul’s benefits arbitrarily and
                 11     inexplicably increase the more she is projected to earn. For example, in his
                 12     Opinion 2, Nutten assumes Dykzeul would have earned $75,000 a year as a DSR
                 13     and values her lost benefits at $12,750 per year (17% x $75,000). In his Opinion 1,
                 14     Nutten assumes that Dykzeul would have earned $100,000 a year and thus values
                 15     her lost benefits at $17,000 per year (17% x $100,000). But Nutten offers no
                 16     explanation why, for example, the same medical insurance is worth more if
                 17     Dykzeul earned $100,000 annually instead of $75,000.
                 18           Nutten’s method for valuing Dykzeul’s lost Charter benefits is unsound,
                 19     overly generalized, and speculative. The Court should reject his approach and
                 20     adopt Aukstikalnis’ values based on the estimated costs of the specific benefits that
                 21     Dykzeul would have been eligible for as a DSR, as follows:
                 22
                                              2015 (Oct-Dec)                2016                  2017
                 23
                         Health Benefits   $1,248                  $5,306                $5,477
                 24
                         401(k) Match      3% of earnings          3% of earnings        3% of earnings
                 25
                                     5.    Dykzeul Fully Mitigated Her Economic Losses By 2017
                 26
                 27           Dykzeul’s earnings and value of benefits from her post-Charter employment,
                 28
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                    1   pursuant to the parties’ stipulation, are as follows: $2,823 in the 2.5 months
                    2   between mid-October and December 2015; $26,944.39 in 2016; $71,449.01 in
                    3   2017; $33,574.96 in 2018; $46,534.05; and $140,946.19 in 2020. SF Nos. 20-38.
                    4         As noted, Charter’s expert, Aukstikalnis, calculated Dykzeul’s estimated lost
                    5   earnings using the $35,577 average annual earnings of DSRs in Turlock for the
                    6   three-year period after Dykzeul’s application, and she valued Dykzeul’s lost
                    7   benefits using an estimate of what the employer cost would have been for health
                    8   insurance and the 401(k)-employer match. She then offset the total of Dykzeul’s
                    9   estimated Charter earnings and benefits with Dykzeul’s actual earnings each year to
                 10     determine Dykzeul’s economic loss. Aukstikalnis’ calculations of Dykzeul’s lost
                 11     earnings and benefits are reflected in the table below. See Dkt. 173-1, Ex. 8 –
                 12     Scenario 1.
                 13
                                                              2015         2016          2017
                 14
                         Estimated Charter                   $8,572       $35,577       $35,577
                 15      Earnings
                 16      Estimated Charter        Health     $1,248        $5,306       $5,477
                         Benefits
                 17
                                                  401(k)      $257         $1,067       $1,067
                 18
                         Total Expected                     $10,077       $41,950       $42,121
                 19      Charter Compensation
                 20      for Dykzeul
                         Less Dykzeul’s                     ($2,823)     ($26,944)     ($71,449)
                 21      Actual, Real-World
                 22      Earnings and Benefits
                         Total Economic Loss                 $7,254       $15,006          $0       $22,259
                 23
                 24           As the Court can see, the total of Dykzeul’s actual wages and value of
                 25     benefits received from subsequent employment in 2017 exceeded her estimated
                 26     Charter earnings and benefits for the year. The same is true under Nutten’s third
                 27     damages model. Nutten confirmed in his testimony that Dykzeul earned more in
                 28     2017 ($58,849) than what even he projects her expected annual earnings at Charter
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                    1   would have been using his cherry-picked average ($57,349) of Turlock DSR
                    2   earnings in his third model. 07/21/21 Trial Tr. at 268:4-269:16; TE 26, Nutten’s
                    3   Sched. 4. Accordingly, under the only two damages models that utilizes actual
                    4   data, rather than advertising statements, Dykzeul fully mitigated her economic
                    5   losses in 2017. Dkt. 143, ¶ 28; see Abila v. Amec Foster Wheeler USA Corp., 216
                    6   F. Supp. 3d 778, 786 (S.D. Tex. 2016) (holding that the plaintiff was not entitled to
                    7   back pay or front pay as of the calendar year that he earned more through
                    8   subsequent employment than he earned or would have earned with the defendant).
                    9                 6.    The Court Should Cut Off The Back Pay Period No Later Than
                                            October 2017 When Dykzeul Secured A Higher-Paying And
                 10                         Substantially Equivalent Position
                 11           As discussed, Dykzeul fully mitigated her economic losses by 2017 if the
                 12     Court uses the average annualized earnings for Turlock DSRs during the three-year
                 13     period after Dykzeul’s application to estimate her earnings, and estimated employer
                 14     costs to value the benefits she would have received, had Charter hired her for the
                 15     DSR position in October 2015. If the Court believes, however, that some other rate
                 16     should be used to estimate Dyzeul’s lost Charter earnings and benefits, it should
                 17     nevertheless cut off the back pay period no later than October 2017, regardless what
                 18     measure the Court uses, when Dykzeul obtained a higher-paying full-time sales
                 19     position with Patient Care that was substantially equivalent to the Charter DSR
                 20     position.11
                 21           An award for back pay in a failure-to-hire case is generally computed from
                 22     the date of the refusal to hire until the date of final judgment. Thorne v. City of El
                 23     Segundo, 802 F.2d 1131, 1136 (9th Cir. 1986). But “the victim of discrimination
                 24     who finds a better or substantially equivalent job no longer suffers ongoing injury
                 25
                        11
                 26       Dykzeul asks the Court to award her back pay for the 50.5 months between
                        October 15, 2015, through December 31, 2019; the time of her interview with
                 27     Charter to when, according to her expert, she fully mitigated her economic losses
                        with Goldco. See Dkt. 141, ¶¶ 8, 46 (“Thus, I have capped her economic loss as of
                 28     the end of 2019, since she fully mitigated her losses in 2020.”).
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                    1   stemming from the unlawful discrimination.” Ford Motor Co. v. EEOC, 458 U.S.
                    2   219, 236 (1982). Thus, “[w]hen a plaintiff finds employment that is equivalent or
                    3   better than the position she was wrongly denied, the right to damages ends because
                    4   it is no longer necessary to achieve an equitable purpose; the plaintiff at that point
                    5   has been restored to the position she would have been in absent the discrimination.”
                    6   Donlin v. Philips Lighting N. Am. Corp., 581 F.3d 73, 84 (3d Cir. 2009). California
                    7   law is the same. Alexander v. Cmty. Hosp. of Long Beach, 46 Cal. App. 5th 238,
                    8   267 (2020) (holding in a wrongful discharge case that “[o]nce plaintiffs obtained
                    9   and retained (for a year) comparable subsequent employment . . ., their damages
                 10     from their termination from [the defendant] ceased.”).
                 11           A position is substantially equivalent when it provides comparable status,
                 12     pay, job responsibilities, working conditions, and promotional opportunities.
                 13     Sellers v. Delgado Cmty. Coll., 839 F.2d 1132, 1138 (5th Cir. 1988). “In
                 14     considering whether substantially equivalent job opportunities are reasonably
                 15     available, courts should first and foremost consider compensation.” Tudor v. Se.
                 16     Oklahoma State Univ., 13 F.4th 1019, 1042 (10th Cir. 2021). Thus, higher-paying
                 17     subsequent employment perforce ends an employment discrimination plaintiff’s
                 18     entitlement to back pay. See, e.g., Palasota, 499 F.3d at 486. (“Certain events or
                 19     circumstances may serve to cut off an employee’s entitlement to back pay prior to
                 20     the date of the judgment, such as, for example, the plaintiff’s employment in a
                 21     higher-paying job . . . .”); Stephens v. C.I.T. Grp./Equip. Fin., Inc., 955 F.2d 1023,
                 22     1029 (5th Cir. 1992) (“[D]amages are ‘settled and complete’ and the back pay
                 23     period ends, when the plaintiff begins earning more at his new job than he did at the
                 24     job from which he was discharged.”); Kolb v. Goldring, Inc., 694 F.2d 869, 874
                 25     (1st Cir. 1982) (holding that the relevant period for calculation of back pay was the
                 26     date of unlawful termination to the date plaintiff received a raise from subsequent
                 27     employer and thus began earning more with his new employer); Gaffney v.
                 28     Riverboat Servs. of Indiana, Inc., 451 F.3d 424, 463 (7th Cir. 2006) (“[I]n the
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                    1   context of Title VII, a plaintiff is eligible for back pay from the date of her injury to
                    2   the date that she acquires a higher-paying job.”); Nordquist v. Uddeholm Corp., 615
                    3   F. Supp. 1191, 1204 (D. Conn. 1985) (holding that back pay is calculated from “the
                    4   date of termination to the date of employment at equal or higher salary if the
                    5   plaintiff was fortunate enough to obtain such employment prior to the date of
                    6   trial”); Watlington v. University of Puerto Rico, 751 F. Supp. 318, 332 (D. Puerto
                    7   Rico 1990) (“[D]amages for back pay cease when the plaintiff begins to earn higher
                    8   wages than what he would have received from his previous job.”).
                    9         Dykzeul accepted a full-time sales position as an account manager with
                 10     Patient Care in October 2017. Dkt. 142, ¶ 23. The Patient Care position was
                 11     higher-paying and substantially equivalent to the Charter DSR position in all
                 12     material respects. Both were full-time sales positions. Id. As a DSR, Dykzeul
                 13     would have been going door-to-door to residential homes selling cable, internet,
                 14     and televisions services, and as an account manager with Patient Care Dykzeul
                 15     traveled to various healthcare providers selling dialysis products to patients. Id.
                 16           The parties have stipulated that Dykzeul would have earned an annual base
                 17     salary of $20,800 plus commissions and benefits had Charter hired her as a DSR in
                 18     October 2015. SF No. 18. Patient Care paid Dykzeul an annual base salary of
                 19     $70,000 plus commissions and benefits. Dkt. 142, ¶ 23. Dykzeul’s annual base
                 20     salary at Patient Care thus exceeded what her base salary would have been at
                 21     Charter by $49,200.
                 22           In fact, Dykzeul’s annual base salary at Patient Care exceeded what the total
                 23     of her base salary plus benefits would have been under all three of Nutten’s
                 24     scenarios. As noted, Nutten estimates Dykzeul’s lost Charter benefits as 17% of
                 25     projected earnings. Dkt. 141, ¶ 6. Under his Scenario 1, his most generous, he
                 26     assumes that Dykzeul would have earned $100,000 in total annual compensation
                 27     (base salary plus commissions) at Charter and thus values lost benefits at $17,000 a
                 28     year. Id. ¶¶ 13-14. Adding the highest annual value that Nutten assigns to lost
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                    1   Charter benefits ($17,000) to what would have been Dykzeul’s annual Charter base
                    2   salary ($20,800) is still $37,200 less than what just her annual base salary was at
                    3   Patient Care ($70,000). TE 26, Sched. 2. Thus, Dykzeul’s fixed compensation at
                    4   Patient Care, which would her base salary and benefits, was significantly better at
                    5   Patient Care than what it would have been at Charter.
                    6         Because the account manager position with Patient Care was higher-paying
                    7   and in all other relevant respects substantially equivalent to the DSR position,
                    8   Dykzeul’s entitlement to back pay ceased when she accepted the position with
                    9   Patient Care in October 2017. As the Supreme Court has explained, “the
                 10     availability of [a] better job terminates the ongoing ill effects of the defendant’s
                 11     refusal to hire the claimant. . . . continuing to hold [a defendant] responsible for
                 12     back pay after [an applicant] lost [a better] job [ ] would be to require, in effect, that
                 13     [the defendant] insure them against the risks of unemployment in a new and
                 14     independent undertaking. Such a rule would not merely restore [applicants] to the
                 15     position where they would have been were it not for the unlawful discrimination[ ];
                 16     it would catapult them into a better position than they would have enjoyed in the
                 17     absence of discrimination. Ford Motor, 458 U.S. at 234 (1982).
                 18           Dykzeul’s right to back pay ended no later than October 31, 2017, because
                 19     “[o]nce [she] obtained and retained . . . comparable subsequent employment at
                 20     [Patient Care], [her] damages from [Charter’s refusal to hire] ceased.” Alexander,
                 21     46 Cal. App. 5th at 267. Accordingly, if the Court decides to use a back pay rate
                 22     higher than the average annual earnings for Turlock DSRs, Dykzeul’s back pay
                 23     should be calculated by deducting her actual post-Charter earnings and benefits
                 24     (stipulated to by the parties) for the approximate 24.5-month period between
                 25     October 15, 2015, and October 31, 2017, from her estimated lost Charter earnings
                 26     and benefits for the same period.12
                 27     12
                          As discussed above, if the Court adopts Charter’s method of estimating
                        Dykzeul’s los earnings and benefits, Dykzeul fully mitigated her economic losses in
                 28     2017 and her back pay period would be October 15, 2015, through December 2016.
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                    1                7.     Dykzeul Failed To Exercise Reasonable Care To Maintain
                                            Substantially Equivalent Employment13
                    2
                    3         Under both federal and California law, Dykzeul had a duty to mitigate any
                    4   potential lost earnings she may have suffered because Charter did not hire her for
                    5   the DSR position. Caudle v. Bristow Optical Co., 224 F.3d 1014, 1020 (9th Cir.
                    6   2000) (federal law); Parker v. Twentieth Century–Fox Film Corp., 3 Cal.3d 176,
                    7   181–182 (1970) (California law). That duty required her to exercise reasonable
                    8   diligence to search for and maintain comparable employment. Patterson v. P.H.P.
                    9   Healthcare Corp., 90 F.3d 927, 937 (5th Cir. 1996); Brady v. Thurston Motor
                 10     Lines, Inc., 753 F.2d 1269, 1277 (4th Cir. 1985) (“[W]e are of the opinion the Title
                 11     VII claimant must also use reasonable diligence to maintain any suitable
                 12     employment which is secured.”); E.E.O.C. v. Delight Wholesale Co., 973 F.2d 664,
                 13     670 (8th Cir. 1992) (“A Title VII claimant has a duty to mitigate damages by
                 14     exercising reasonable diligence to . . . maintain a suitable job once it is located.”).
                 15     “Although the employer has the initial burden of proof regarding a [plaintiff’s]
                 16     failure to mitigate, the burden shifts to the [plaintiff] where comparable
                 17     employment is found but later lost.” Palasota v. Haggar Clothing Co., 499 F.3d
                 18     474, 486 (5th Cir. 2007).
                 19           Dykzeul’s employment with Patient Care was superior to the Charter DSR
                 20     position because it was higher-paying and substantially equivalent in all other
                 21     material respects. She earned a significantly higher annual base salary with Patient
                 22     Care ($70,000) than she would have as a DSR ($20,800), and both roles were full-
                 23     time sales positions offering benefits and incentive-based compensation.
                 24           Patient Care terminated Dykzeul’s employment effective as of April 30,
                 25     13
                          Dykzeul misrepresents to the Court in her brief that “Charter stipulated that
                 26     Dykzeul made reasonable efforts to mitigate her damages.” Dkt. 170, Pl.’s Br. at
                        18:21-19. While Charter has stipulated that Dykzeul made reasonable efforts to
                 27     obtain employment after she applied for the DSR position, see SF No. 19, it has
                        consistently contended that she failed to exercise reasonable care to maintain
                 28     comparable employment when she was terminated for cause by Patient Care.
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                    1   2018. Dkt. 158, 7/22/21 Trial Tr. at 19:23-20:14. Although Dykzeul did her best to
                    2   conceal the real reason why Patient Care terminated her employment, Seoane,
                    3   Patient Care’s HR Director, testified that Patient Care terminated Dykzeul’s
                    4   employment for performance reasons, which were documented contemporaneously
                    5   by Dykzeul’s supervisor. Specifically, Dykzeul was terminated because of her lack
                    6   of preparation and clinical and product knowledge. Dkt. 165, TE 55, pp. 11-14;
                    7   Dkt. 158, 7/22/21 Trial Tr. at 11:14-15:25.
                    8         A plaintiff fails to reasonably mitigate damages when she is involuntarily
                    9   discharged from substantially equivalent or comparable employment due to
                 10     misconduct or performance reasons. Johnson v. Spencer Press of Maine, Inc., 364
                 11     F.3d 368, 379 (1st Cir. 2004); Brady, 753 F.2d at 1277. Thus, “[w]here the jury
                 12     determines the employee was fired from a substantially similar position for cause,
                 13     any amount the employee with reasonable effort could have earned by retaining that
                 14     employment should be deducted from the amount of damages which otherwise
                 15     would have been awarded to the employee . . . .” Stanchfield v. Hamer Toyota,
                 16     Inc., 37 Cal. App. 4th 1495, 1502-03 (1995) (applying California law).
                 17           Dykzeul failed to mitigate her damages when Patient Care terminated her
                 18     employment for cause. Consequently, the Court should offset and deduct the
                 19     amounts that Dykzeul would have earned had Patient Care not terminated her
                 20     employment for cause from the date of her termination until such time she once
                 21     again obtained substantially equivalent employment. Brady, 753 F.2d at 1273;
                 22     Knickerbocker Plastics Co., 132 NLRB 1209, 1215 (1961).
                 23           Patient Care terminated Dykzeul’s employment for performance related
                 24     reasons effective April 30, 2018. While employed by Patient Care, she received
                 25     and annual base salary of $70,000 plus commissions and benefits. She
                 26     subsequently accepted a substantially equivalent sales position with Goldco in “the
                 27     middle” of February 2019. Therefore, for the period between May 1, 2018 and
                 28     February 14, 2019 (9.5 months), Charter is entitled to a minimum offset of $55,417,
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                    1   which represents Dykzeul’s prorated earnings had Patient Care not terminated her
                    2   employment.14
                    3                  8.    Summary Of Back Pay Calculation
                    4           For the reasons discussed above, the Court should use the average annual
                    5   earnings of all Turlock DSRs during the three-year period after Dykzeul’s
                    6   application to estimate the value of her lost Charter earnings and benefits and find
                    7   that: (1) Dykzeul fully mitigated by 2017 when her actual compensation, including
                    8   earnings and benefits, exceeded what her expected compensation would have been
                    9   had Charter hired her in October 2015, see supra Section V.A.5; (2) the appropriate
                 10     back pay period is October 2015 through December 2016; and (3) Dykzeul’s total
                 11     economic loss is no more than $22,259.
                 12             If the Court disagrees with Charter’s approach and ultimately determines that
                 13     a rate higher than the average annual earnings of all Turlock DSRs should be used
                 14     to estimate Dykzeul’s expected lost Charter earnings and benefits, the Court should
                 15     find that the back pay period terminates no later than October 2017, when Dykzeul
                 16     obtained a full-time sales position with Patient Care that was higher-paying and
                 17     substantially equivalent to the Charter DSR position in all other material respects.
                 18             Finally, if for any reason the Court decides that a back pay period extending
                 19     beyond October 2017 is appropriate, it should find that Charter is entitled to a
                 20     minimum offset of $55,417 from any resulting backpay award, which represents her
                 21     prorated Patient Care base salary for the period between May 1, 2018 (Patient Care
                 22     date of termination), and February 14, 2019 (Goldco date of hire) (9.5 months).
                 23             B.     The Court Should Deny Dykzeul’s Request For Prejudgment
                                       Interest Because The Amount Of Her Damages Were Not Readily
                 24                    Ascertainable
                 25             Dykzeul asks the Court to award her prejudgment interest on her lost
                 26     earnings and benefits. Prejudgment interest in a Title VII case is discretionary.
                 27     Domingo v. New England Fish Co., 727 F.2d 1429, 1446 (9th Cir. 1984). “The
                 28     14
                             $5,833 monthly base salary ($70,000/12) x 9.5 months = $55,413.
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                    1   decision of whether to grant or deny prejudgment interest is dependent upon
                    2   ‘whether the amount of damages is easily ascertainable.’ ” Donnelly v. Yellow
                    3   Freight Systems, Inc., 874 F.2d 402, 411 (7th Cir. 1989); Maksymchuk v. Frank,
                    4   987 F.2d 1072, 1077 (4th Cir. 1993) (“Prejudgment interest is commonly denied
                    5   when the back pay award is not readily determinable or when the plaintiff fails to
                    6   raise the issue in a timely or an appropriate manner.”). “The fact that the amount of
                    7   backpay is not readily determinable weighs against awarding prejudgment interest.”
                    8   Domingo v. New England Fish Co., 727 F.2d 1429, 1446 (9th Cir. 1984). “Courts
                    9   commonly decline to award pre-judgment interest when the back pay award is not
                 10     readily determinable or when the plaintiff fails to raise the issue in a timely or
                 11     appropriate manner.” Peinado v. S. Pac. Transp. Co., No. C-92-545 MHP, 1996
                 12     WL 449184, at *3 (N.D. Cal. July 31, 1996); see also E.E.O.C. v. Accurate Mech.
                 13     Contractors, Inc., 863 F. Supp. 828, 837 (E.D. Wis. 1994) (denying prejudgment
                 14     interest where plaintiff’s damages were not readily ascertainable; even though her
                 15     hourly rate of pay was easily determined, “calculating the period for which she was
                 16     entitled to backpay involved a subjective estimate as to the number of days that she
                 17     would have worked for [defendant] at the Niagara job site absent the discriminatory
                 18     conduct”).
                 19           In Domingo, the district court denied a request for prejudgment interest in an
                 20     employment discrimination case, where the employer provided room and board as
                 21     part of its employees’ compensation. 727 F.2d at 1446. The district court
                 22     considered the difference between the quality of housing that the employer
                 23     provided to “whites as opposed to nonwhites” to be a wage differential and awarded
                 24     back pay after discussing and considering various subjective factors that affect the
                 25     value of housing. Ibid. The Ninth Circuit affirmed the denial of prejudgment
                 26     interest, finding that denial was warranted “[i]n view of the many subjective factors
                 27     the court valued in determining the amount of damages.” Ibid.
                 28           Here, Dykzeul acknowledges that “[i]t is admittedly challenging to assess
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                    1   economic loss in a failure to hire case, especially such as this one, where the
                    2   potential earnings are not fixed by salary, but variable based on sales
                    3   commissions.” Dkt. 170, Pl.’s Br. at 39:21-23. Because the primary component of
                    4   Dykzeul’s claim for back pay consists of incentive-based commissions, as her
                    5   expert puts it, “it is impossible to know precisely how much Dykzeul would have
                    6   earned had she been hired by Charter in 2015.” Dkt. 141, ¶ 9. Dykzeul herself has
                    7   presented the Court with three different projections of lost DSR earnings and
                    8   benefits; two using speculative figures from a job description and one using a
                    9   weighted average based on cherry-picked data. The alleged economic losses under
                 10     the three different scenarios vary widely, ranging from just over $425,000, to
                 11     approximately $258,000, to approximately $145,000. Which scenario should be
                 12     chosen, according to Dykzeul, depends on whether the Court thinks she would have
                 13     been a “top-tier” or average DSR. As the foregoing demonstrates, the amount of
                 14     damages in this case are not readily determinable and, based on Dykzeul’s
                 15     methodology, require subjective determinations of how successful she would have
                 16     been as a DSR. The Court should therefore deny Dykzeul’s request for
                 17     prejudgment interest on her Title VII claims.
                 18           Neither is Dykzeul entitled to prejudgment interest on her FEHA claims.
                 19     Under California law, prejudgment interest is available if the recoverable damages
                 20     are “certain, or capable of being made certain by calculation.” Cal. Civ. Code §
                 21     3287(a). The standard for certainty under Section 3287(a) is “whether defendant
                 22     actually knows the amount owed or from reasonably available information could ...
                 23     have computed that amount.” Roodenburg v. Pavestone Co., L.P., 171 Cal. App.
                 24     4th 185, 191 (2009) (internal citation and quotations omitted). In other words,
                 25     “[d]amages are deemed certain or capable of being made certain within the
                 26     provisions of subdivision (a) of section 3287 where there is essentially no dispute
                 27     between the parties concerning the basis of computation of damages if any are
                 28     recoverable but where their dispute centers on the issue of liability giving rise to
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                    1   damage.” Leff v. Gunter, 33 Cal.3d 508, 189 (1983) (citation omitted) (emphasis
                    2   added).
                    3         In Navarro v. DHL Glob. Forwarding, No. CV15-5510-CAS(EX), 2017 WL
                    4   11647704 (C.D. Cal. Dec. 22, 2017), applying California law, the court denied the
                    5   prevailing plaintiff’s request for prejudgment interest in a FEHA discrimination and
                    6   wrongful termination case because the measure of the plaintiff’s lost-wages was not
                    7   “readily ascertainable” to the defendant on the date of plaintiff’s termination since
                    8   the plaintiff’s “total compensation varied considerably from year to year because he
                    9   did not have a guaranteed salary level.” Id. at *2.
                 10           The same dilemma exists in this case. Dykzeul never even worked as a DSR
                 11     and had she been hired her total compensation would not have been fixed. The
                 12     parties heavily dispute how Dykzeul’s lost Charter earnings and benefits should be
                 13     computed. Dykzeul herself presents the Court with three alternative methodologies
                 14     and Charter a fourth. Under the circumstances, there was no information that was
                 15     reasonably available to Charter at the time of Dykzeul’s non-hire from which it
                 16     could calculate her damages. Dykzeul, therefore, is not entitled to prejudgment
                 17     interest under California law, either.15 See Sagadin v. Ripper, 175 Cal. App. 3d
                 18
                        15
                 19       Dykzeul’s expert includes prejudgment interest at a rate of 10% in his
                        calculations of her economic losses under all three of his scenarios. Although
                 20     prejudgment interest should be denied, if the Court concludes otherwise it should
                 21     not use the 10% rate that Dykzeul’s expert assumes in his scenarios and Charter
                        requests that the Court order supplemental briefing regarding the appropriate rate
                 22     that should be used to calculate prejudgment interest. Although Dykzeul does not
                 23     address the issue of the appropriate prejudgment interest rate in her brief, Charter
                        notes that a 10% rate does not appear to be authorized under either federal or
                 24     California law. Compare Blankenship v. Liberty Life Assurance Co. of Boston, 486
                 25     F.3d 620, 628 (9th Cir. 2007) (“Generally, the interest rate prescribed for post-
                        judgment interest under 28 U.S.C. § 1961 is appropriate for fixing the rate of pre-
                 26     judgment interest.”) (internal quotation marks omitted), with Bullock v. Philip
                 27     Morris USA, Inc., 198 Cal. App. 4th 543, 573 (2011) (“Absent a statutory provision
                        specifically governing the type of claim at issue, the prejudgment interest rate is 7
                 28     percent under article XV, section 1 of the California Constitution.”).
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                    1   1141, 1175-76 (1985) (trial court abused discretion in awarding prejudgment
                    2   interest where “the amount of the actual damages suffered . . . remained uncertain
                    3   until some factfinder determined them).
                    4         C.     Dykzeul Did Not Suffer Any Serious Emotional Distress
                    5         Dykzeul asks the Court to award her emotional distress damages “of at least
                    6   $500,000.” But an award anywhere near that amount, on the facts of this case,
                    7   would be grossly excessive. See, e.g., Hetzel v. Cty. of Prince William, 89 F.3d
                    8   169, 171-72 (4th Cir. 1996) (reversing an award of $500,000 for emotional distress
                    9   based almost entirely on the plaintiff’s brief, conclusory, and self-serving testimony
                 10     concerning stress, headaches, trouble reading to her daughter, and problems with
                 11     her family life allegedly caused by the employer’s actions as unsupported by the
                 12     “thin” evidence and excessive as a matter of law).
                 13           Dyzkeul did not seek or receive treatment from any medical providers for her
                 14     alleged emotional distress and has no diagnosed mental disorder or illness. The
                 15     only evidence to support her exorbitant request is her uncorroborated self-serving
                 16     testimony that after her interview for the DSR position she: felt anxious and was
                 17     stressed about finances; worried that she might not find a full-time job again
                 18     because she “wanted to please God in keeping his Shabbat”; and felt withdrawn
                 19     because she had nobody to talk to. Dykzeul also cites to the fact that she cried at
                 20     trial as evidence of her severe emotional distress.
                 21           Regarding Dykzeul’s crying at trial, the point in the trial at which she cried
                 22     was when she claimed to the Court that she was distraught by Charter’s decision
                 23     not to hire her because this was the first time anything like this had happened to her.
                 24     According to her, she had “never been rejected from a job based solely on my faith
                 25     and keeping Shabat for 24 hours. Never. That’s never happened before.” 7/21/21
                 26     Tr. at 293:17-21. Yet, on cross-examination, Dykzeul admitted that she sued
                 27     another employer for discrimination and failure to accommodate her Sabbath
                 28     observance before her Charter application, although she unbelievably claimed not
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                    1   to recall whether she had sought emotional distress damages in that case, too.
                    2   7/21/21 Tr. at 323:23-324:23. Charter respectfully acknowledges that testifying in
                    3   court can be a stressful experience, and that not getting a job offer can feel bad, but
                    4   this was but one job interview and one position (among many, many others) that
                    5   she did not get. Dykzeul’s contention that not getting the DSR job offer caused her
                    6   $500,000 worth of emotional distress and to doubt she would ever work full-time
                    7   again appears greatly exaggerated.
                    8         Dykzeul also testified that she did not seek mental health treatment because
                    9   she couldn’t afford it, but she has made high five and six figures since her interview
                 10     and has never even bothered to check how much it would have cost to see a mental
                 11     health professional. Indeed, as of the trial in this action in July 2021 (nearly six
                 12     years after her interview), Dykzeul still has not sought treatment for her alleged
                 13     emotional distress, even though she made $150,000 in the first six months of 2021
                 14     alone. Again, Dykzeul’s claim that she suffered $500,000 worth of emotional
                 15     distress appears greatly exaggerated, when she was not even bothered enough to
                 16     seek professional help.
                 17           This case does not involve a long-time employee who was subjected to a
                 18     hostile work environment or unlawfully terminated. Swift did not make any
                 19     derogatory or offensive remarks. Dykzeul was a job applicant who did not get the
                 20     job she applied for because she could not work Saturdays when working Saturdays
                 21     was a job requirement, and not, as she suggests, because she believes in God or
                 22     observes the Sabbath. Nor was she unemployed for an extended amount of time.
                 23     She found a part-time sales job within a couple of weeks of her interview with
                 24     Swift and a full-time sales job within five months. Since then, she has had multiple
                 25     part- and full-time sales jobs, making high five and six figures. Dykzeul has had no
                 26     problem finding work, and her assertion that she was worried she would never be
                 27     able to find a full-time job again lacks credibility.
                 28           In sum, Dykzeul’s uncorroborated, self-serving, and dubious testimony does
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                    1   not support a significant award for emotional distress. If Dykzeul suffered
                    2   emotional distress as a result of not getting the DSR job, it was the garden variety
                    3   type that usually attends when one gets passed over for a job, and should be valued,
                    4   if at all, in the thousands, not tens or hundreds of thousands, of dollars.
                    5         D.     The Evidence Does Not Support An Award Of Punitive Damages
                    6         “Punitive damages are allowed in a Title VII action only under limited
                    7   circumstances.” U.S. Equal Employment Opportunity Comm’n v. Consol Energy,
                    8   Inc., 860 F.3d 131, 150 (4th Cir. 2017). The relevant statutory provision permits
                    9   the recovery of punitive damages only if an employer “engaged in a discriminatory
                 10     practice or discriminatory practices with malice or with reckless indifference to the
                 11     federally protected rights of an aggrieved individual.” 42 U.S.C. § 1981a(b)(1).
                 12     The Supreme Court has interpreted “reckless indifference” to mean “recklessness in
                 13     its subjective form” – i.e., to be liable for punitive damages, “an employer must at
                 14     least discriminate in the face of a perceived risk that its actions will violate federal
                 15     law.” Kolstad v. Am. Dental Ass’n, 527 U.S. 526, 535-536, 119 S. Ct. 2118, 2124–
                 16     25, 144 L. Ed. 2d 494 (1999) (emphasis added).
                 17           “In general, intentional discrimination is enough to establish punitive
                 18     damages liability.” Passantino v. Johnson & Johnson Consumer Prod., Inc., 212
                 19     F.3d 493, 515 (9th Cir. 2000). But the Supreme Court stated in Kolstad that
                 20     “[t]here will be circumstances where intentional discrimination does not give rise to
                 21     punitive damages liability”:
                 22           In some instances, the employer may simply be unaware of the
                 23           relevant federal prohibition. There will be cases, moreover, in
                              which the employer discriminates with the distinct belief that its
                 24           discrimination is lawful. The underlying theory of discrimination
                 25           may be novel or otherwise poorly recognized, or an employer may
                              reasonably believe that its discrimination satisfies a bona fide
                 26           occupational qualification defense or other statutory exception to
                 27           liability.
                 28     Kolstad, 527 U.S. at 536-37 (emphasis added); Passantino, 212 F.3d at 515 (citing
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                    1   Kolstad).
                    2         “Common to all of these exceptions is that they occur when the employer is
                    3   aware of the specific discriminatory conduct at issue, but nonetheless reasonably
                    4   believes that conduct is lawful. Under such circumstances, an employer may not be
                    5   liable for punitive damages.” Passantino, 212 F.3d at 515.
                    6         There is no evidence in this case that Swift’s decision not to hire Dykzeul
                    7   was motivated by ill will or discriminatory intent. Nor is there any evidence from
                    8   which it can be inferred that Swift made his decision “in the face of a perceived
                    9   risk” that it would violate federal laws. To the contrary, it is undisputed that Swift
                 10     wanted to hire Dykzeul, and the evidence at trial shows that he earnestly considered
                 11     whether he could accommodate Dykzeul’s request to work Sundays instead of
                 12     Saturdays. Though Swift eventually concluded that he could not do so because it
                 13     would be too much for him to work seven days a week with no days off, he did so
                 14     because he believed that the negative impact on his own work schedule would be
                 15     too great to bear.
                 16           In Kolstad, the Supreme Court stated that punitive damages are inappropriate
                 17     when an employer reasonably believes that a “statutory exception” to liability may
                 18     apply. 527 U.S. at 536-37. Undue hardship is a statutory defense to liability for
                 19     failure to accommodate religious beliefs and the Ninth Circuit, since Hardison, has
                 20     repeatedly held that undue hardship may be shown through a more than de minimis
                 21     impact on coworkers. Bhatia, 734 F.2d at 1384; Balint, 180 F.3d at 1054. Here,
                 22     Swift genuinely considered Dykzeul’s request to work Sundays instead of
                 23     Saturdays and made a good faith determination that accommodating her request
                 24     would cause too much of a burden on his own work schedule. Indeed, the Court
                 25     specifically held in its summary judgment order that a jury could reasonably
                 26     conclude on the facts of this case that the additional burdens on Swift amount to an
                 27     undue hardship. Dkt. 64 at p. 12. If a jury (or in this case the Court) can
                 28     reasonably conclude that the additional burdens imposed on Swift constitute undue
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                    1   hardship, Swift’s conclusion to that effect must necessarily have been reasonable.
                    2   When, as here, there is no evidence of religious hostility or discriminatory intent
                    3   and a manager comes to a reasonable – even if the Court determines incorrect –
                    4   belief that the impact of a particular accommodation would result in undue
                    5   hardship, punitive damages are improper. See Passantino, 212 F.3d at 515; Sturgill
                    6   v. United Parcel Serv., Inc., 512 F.3d 1024, 1035-36 (8th Cir. 2008) (reversing
                    7   award of punitive damages in religious accommodation case even though the jury
                    8   reasonably found that UPS failed to reasonably accommodate the plaintiff’s
                    9   religion, where “[n]o UPS employee was shown to have acted with malice or
                 10     reckless indifference” to the plaintiff’s accommodation request); Canny v. Dr.
                 11     Pepper/Seven-Up Bottling Grp., Inc., 439 F.3d 894, 904 (8th Cir. 2006) (visually
                 12     impaired route driver discharged due to safety concerns did not establish that
                 13     employer acted with malice necessary to sustain award of punitive damages);
                 14     Praseuth v. Rubbermaid, Inc., 406 F.3d 1245, 1254-55 (10th Cir. 2005) (punitive
                 15     damage claim properly denied in a disability accommodation case where there was
                 16     no evidence that employer acted in bad faith or with malice in discharging plaintiff,
                 17     even though jury determined that this disability could reasonably have been
                 18     accommodated).
                 19           In sum, Swift did not intentionally discriminate against Dykzeul and there is
                 20     no evidence – certainly no clear and convincing evidence – he knew or perceived a
                 21     risk that denying Dykzeul’s requested accommodation because of the burden it
                 22     would have on his own work schedule would constitute a violation of federal law.
                 23     Swift did not act with malice or reckless indifference to Dykzeul’s rights and
                 24     punitive damages are inappropriate in this case.
                 25           Finally, even if Swift acted with the requisite malice or reckless indifference
                 26     in deciding not to hire Dykzeul, which he did not, there is still no basis to award
                 27     punitive damages against Charter. To justify an award of punitive damages against
                 28     an employer, “[t]he plaintiff must impute liability” to the company, and “an
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                    1   employer may not be vicariously liable for the discriminatory employment
                    2   decisions of managerial agents where these decisions are contrary to the employer’s
                    3   ‘good-faith efforts to comply with Title VII.’ ” Kolstad, 527 U.S. at 539, 545.
                    4   Thus, employers “may now establish an affirmative defense to punitive damages
                    5   liability when they have a bona fide policy against discrimination[.]” Passantino,
                    6   212 F.3d at 516. The Ninth Circuit has explained that “Kolstad provided the
                    7   employer with a new ‘good faith’ defense, enabling it to escape punitive damages if
                    8   it can show that the challenged actions were not taken by senior managers and were
                    9   contrary to the employer’s good faith implementation of an effective
                 10     antidiscrimination policy.” Costa v. Desert Palace, Inc., 299 F.3d 838, 864 (9th
                 11     Cir. 2002), aff’d, 539 U.S. 90, 123 S. Ct. 2148, 156 L. Ed. 2d 84 (2003).
                 12           While punitive damages may be awarded despite the existence of an
                 13     employer’s bona fide anti-discrimination policy if a plaintiff can show that the
                 14     employer failed to enforce the policy, Bains LLC v. Arco Prod. Co., Div. of Atl.
                 15     Richfield Co., 405 F.3d 764, 774 (9th Cir. 2005), here the record is devoid of any
                 16     evidence that Charter failed to enforce its anti-discrimination policy. The evidence
                 17     in the record establishes that Charter had a bona fide anti-discrimination policy and
                 18     that Charter provided anti-discrimination training to its supervisors, including
                 19     Swift. See TE 31; TE 34. Dykzeul did not complain to Charter’s human resources
                 20     after her interview about possible discrimination; there is no evidence that someone
                 21     in a position to enforce the company’s anti-discrimination policy, like senior
                 22     managers or human resources personnel, ignored or abdicated their duties to
                 23     enforce the anti-discrimination policy; and there is no evidence that complaints of
                 24     discrimination made by others were ignored or improperly addressed. In the
                 25     absence of any evidence that Charter failed to enforce or implement its anti-
                 26     discrimination policy, Charter has met its burden to establish that it had a formal
                 27     anti-discrimination policy and that it made good faith efforts to comply with Title
                 28     VII. Punitive damages are therefore improper in this case, even assuming Swift
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                    1   acted with the requisite malice or reckless indifference, which he did not.
                    2   VI.   CONCLUSION
                    3         The preponderance of the evidence at trial establishes that Charter could not
                    4   have accommodated Dykzeul’s unavailability to work Saturdays without incurring
                    5   undue hardship, and that Charter did not intentionally discriminate against Dykzeul
                    6   because of her religion when it decided not to hire her for the DSR position.
                    7   Judgment on Dykzeul’s religious accommodation and intentional discrimination
                    8   claims under Title VII and the FEHA should therefore be entered against her and in
                    9   favor of Charter.
                 10
                 11     Dated: January 28, 2022                 MORGAN, LEWIS & BOCKIUS LLP
                 12
                 13                                             By:        /s/ Samson C. Huang
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